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 VI. EXAMINER’S ASSESSMENT OF RESCAP’S FINANCIAL CONDITION

       Several of the causes of action analyzed in this Report require the Examiner to assess
 whether ResCap (or, in some instances, RFC and GMAC Mortgage) was insolvent or in
 financial distress as prescribed by the applicable Bankruptcy Code provisions and analogous
 state-law statutes at various relevant times preceding the commencement of the Debtors’
 bankruptcy cases. This Section contains the Examiner’s analysis and conclusions on these
 issues.

 A. GENERAL INTRODUCTION TO ANALYSIS OF A DEBTOR’S FINANCIAL
    CONDITION

      Section VII includes a comprehensive analysis and evaluation of the principal claims that
 could be asserted on behalf of the Debtors’ bankruptcy estates against AFI, Cerberus, and their
 respective affiliates. In addition to being a necessary element of certain claims (such as
 constructive fraudulent transfer, preference, or breach of fiduciary duties while insolvent),
 ResCap’s financial condition over time is relevant to the Examiner’s assessment of other
 significant issues, claims, and potential remedies.

      For a constructive fraudulent transfer claim to succeed, a plaintiff must show—in
 addition to establishing the absence of reasonably equivalent value—that the relevant debtor
 was financially impaired (as defined in any of three separate statutory tests), or became so, at
 the time of the challenged transfer. The three disjunctive tests of financial distress focus
 respectively on: (1) whether the sum of the debtor’s debts (including its contingent and/or
 unliquidated liabilities) is greater than all of the debtor’s assets, at a fair valuation (the
 Balance Sheet Test); (2) whether the debtor was left with “unreasonably small capital [or
 assets]” to carry on its business (the “inadequate capital” test); or (3) whether the debtor
 intended or believed that it was or would become unable to pay its debts as they became due
 (the “inability to pay” test).1

      Claims to avoid preferences under section 547 of the Bankruptcy Code and claims to
 avoid “insider preferences” under section 5(b) of the UFTA (as enacted in various relevant
 states) require a demonstration of insolvency pursuant to the Balance Sheet Test. Claims based
 on breaches of fiduciary duty while insolvent look to state law to determine the relevant
 measure of financial distress.

       This Section examines the financial condition of ResCap (and, as appropriate, RFC and
 GMAC Mortgage) at various relevant times by reference to the applicable legal tests for
 financial distress under the Balance Sheet Test, inadequate capital test, and inability to pay
 test. Section VII discusses the applicable tests for financial impairment as to each type of
 claim analyzed.



 1   MFS/Sun Life Trust-High Yield Series v. Van Dusen Airport Servs. Co., 910 F. Supp. 913, 936, 943 (S.D.N.Y.
     1995).

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 B. BALANCE SHEET TEST
      1. Introduction
      The first of the three disjunctive tests of financial distress for a constructive fraudulent
 transfer analysis seeks to determine the insolvency of the debtor through what is commonly
 known as the Balance Sheet Test.2 The Balance Sheet Test is the exclusive manner of
 assessing a debtor’s financial condition in avoidable preference litigation.3
      In the Bankruptcy Code, “insolvent” is defined as a “financial condition such that the sum
 of such entity’s debts is greater than all of such entity’s property, at a fair valuation . . . .”4
 Section 2 of the UFCA states that “[a] person is insolvent when the present fair salable value of
 his assets is less than the amount that will be required to pay his probable liability on his existing
 debts as they become absolute and matured.”5 The UFTA states that “[a] debtor is insolvent if
 the sum of the debtor’s debts is greater than all of the debtor’s assets, at a fair valuation.”6 The
 UFCA, in effect in New York, predates the Bankruptcy Code’s and the UFTA’s definition of
 insolvency. The UFTA’s definition of insolvency is generally patterned on the definition in the
 Bankruptcy Code. Although authorities have acknowledged that the Balance Sheet Tests for
 financial distress under the UFCA, the Bankruptcy Code, and the UFTA differ slightly,7 there is
 general agreement that the similarities between the three statutes justify a substantially similar
 analysis.8
 2   11 U.S.C. § 548(a)(1)(B)(ii).
 3   Id. § 547(b)(3).
 4   Id. § 101(32)(A).
 5   UFCA § 2(1); N.Y. DEBT. & CRED. LAW § 271.
 6   UFTA § (2)(a).
 7   See, e.g., Bay Plastics, Inc. v. BT Commercial Corp. (In re Bay Plastics, Inc.), 187 B.R. 315, 328 n.22 (Bankr.
     C.D. Cal. 1995) (noting slightly different definitions of insolvency under the Bankruptcy Code, the UFCA,
     and the UFTA).
 8   See, e.g., Sharp Int’l Corp. v. State St. Bank & Trust Co.(In re Sharp Int’l Corp.), 403 F.3d 43, 55 (2d Cir.
     2005) (noting “New York’s policy in favor of national uniformity in UFCA law”) (citing HBE Leasing Corp.
     v. Frank, 48 F.3d 623, 634 n.8 (2d Cir.1995) (“In order to promote a uniform national interpretation of the
     UFCA, both this Circuit and the courts of New York have encouraged recourse to the case law of other
     jurisdictions.”) (citation omitted)); Nisselson v. Empyrean Inv. Fund, L.P. (In re MarketXT Holdings Corp.),
     376 B.R. 390, 420 n.42 (Bankr. S.D.N.Y. 2007) (“[T]here is no dispute that Federal and State law are virtually
     identical as to their requirements for proving a constructive fraudulent conveyance.”); Moody v. Sec. Pac.
     Bus. Credit, Inc., 971 F.2d 1056, 1068 (3d Cir. 1992) (“The fraudulent conveyance provisions of the
     Bankruptcy Code are modeled on the UFCA, and uniform interpretation of the two statutes is essential to
     promote commerce nationally. . . . [A]lthough the UFCA’s ‘present fair salable value’ language differs from
     the Bankruptcy Code’s ‘fair valuation’ requirement . . . we find the bankruptcy cases instructive on the proper
     valuation standard here.” (citation omitted)); Kaler v. Red River Commodities, Inc. (In re Sun Valley Prods.,
     Inc.), 328 B.R. 147, 155 (Bankr. D.N.D. 2005) (“The language of UFTA and section 548 are nearly identical .
     . . . Considering the similarities in purpose and language, many courts have concluded that the UFTA and
     section 548 are in pari materia, and that the same analysis applies under both laws. The Court finds the
     reasoning behind these cases persuasive and will analyze the transfer at issue only under the purview of
     section 548.” (citation omitted)).

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       2. Methodology

      The basic methodology for assessing whether a debtor is insolvent is generally well
 established in the law and the relevant valuation literature. The following steps are performed
 to ensure both the relevance and reliability of the valuation analysis: (1) define the legal
 interest to be valued; (2) identify ownership interest characteristics (such as controlling,
 marketable, etc.); (3) select a relevant date (usually the transfer date); (4) determine the
 purpose of the valuation (avoidance action, breach of duty, etc.); (5) identify the applicable
 standard of value; (6) identify the applicable premise of value; (7) select the applicable
 valuation approaches (for example, the Market Approach, Asset-Based Approach, and/or
 Income Approach, etc.); (8) reach a conclusion on value, making appropriate adjustments for
 control or lack of control, marketability, etc.; and (9) cross-validate valuation results.9 The
 determination of the appropriate standard of value, premise of value, and valuation approaches
 are discussed in greater detail in the following Sections.

               a. Standard Of Value

      The Bankruptcy Code provides that an insolvency determination should compare the
 debts of the debtor with its property at a “fair valuation.” The UFCA and UFTA are
 substantially similar in this regard. The Bankruptcy Code does not define a “fair valuation.”
 Although the standard of Fair Market Value is specifically mentioned in section 522(a)(2) of
 the Bankruptcy Code, it is not specifically used in the definition of insolvency under
 section 101(32). The conventional use of Fair Market Value in an insolvency determination
 has been developed by courts, which have maintained the flexibility to vary from that standard
 of value in appropriate circumstances. There is a strong practice among courts and valuation
 experts to embrace a Fair Market Value standard when assessing “fair valuation” under the
 Bankruptcy Code or the UFTA. Although the UFCA uses the term “fair salable value” as
 opposed to “fair valuation,” courts have stated that “fair salable value” means “that value
 which can be obtained if the assets are liquidated with reasonable promptness in an arm’s-
 length transaction in an existing and not theoretical market.”10 Thus, authorities generally
 conclude that a “fair valuation” and “fair salable value” both mean Fair Market Value, absent
 circumstances to justify any deviation. Fair Market Value is defined as:

                    [T]he price, expressed in terms of cash equivalents, at which
                    property would change hands between a hypothetical willing
                    and able buyer and a hypothetical willing and able seller, acting



 9    ASSOC. OF INSOLVENCY & RESTRUCTURING ADVISORS, CERTIFICATION IN DISTRESSED BUSINESS
      VALUATION STUDY COURSE PART 2: ADVANCED BUSINESS VALUATION 3–9 (Sept. 22, 2010); see also
      SHANNON P. PRATT WITH ALINA V. NICULITA, VALUING A BUSINESS: THE ANALYSIS AND APPRAISAL OF
      CLOSELY HELD COMPANIES 30–31 (5th ed. 2008).
 10   United States v. Gleneagles Inv. Co., 565 F. Supp. 556, 578 (M.D. Pa. 1983), aff’d sub nom. United States v.
      Tabor Court Realty Corp., 803 F.2d 1288 (3d Cir. 1986).

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                      at arm’s length in an open and unrestricted market, when neither
                      is under compulsion to buy or sell and when both have
                      reasonable knowledge of the relevant facts.11

                   b. Premise Of Value

      Valuation theory includes two operational premises of value that are regularly recognized
 by bankruptcy courts: going concern value and liquidation value. These premises are defined
 as follows:

          •    Going concern value is defined as “the value of a business enterprise that is
               expected to continue to operate into the future. The intangible elements of [g]oing
               [c]oncern [v]alue result from factors such as having a trained work force, an
               operational plant, and the necessary licenses, systems, and procedures in place.”12

          •    Liquidation value is defined as “the net amount that would be realized if the
               business is terminated and the assets are sold piecemeal. Liquidation can be either
               ‘orderly’ or ‘forced.’”13

      Where liquidation is not clearly imminent on the date of the challenged transfer, it is
 generally accepted that assets should be valued under a going concern basis or “determined by
 the fair market price of the debtor’s assets that could be obtained if sold in a prudent manner
 within a reasonable period of time to pay the debtor’s debts.”14




 11   INTERNATIONAL GLOSSARY OF BUSINESS VALUATION TERMS, Statement on Standards for Valuation Services
      No. 1 app. B, at 44 (Am. Inst. of Certified Pub. Accountants 2007), http://www.aicpa.org/InterestAreas/
      ForensicAndValuation/DownloadableDocuments/SSVS_Full_Version.pdf.
 12   Id. at 45.
 13   Id. at 46.
 14   Lawson v. Ford Motor Co. (In re Roblin Indus., Inc.), 78 F.3d 30, 35 (2d Cir. 1996).

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                    c. Valuation Approaches

      Three valuation approaches are commonly used in assessing insolvency: the Market
 Approach, the Asset-Based Approach, and the Income Approach.15 Numerous valuation
 methods can be applied under each of these three approaches.16 The appropriate use of any of
 these valuation methods depends on the circumstances of the valuation and the reasoned
 judgment of the valuation expert.17 Once the valuation is performed, the resulting Fair Market
 Value of invested capital18 (or assets) is compared to a company’s debts (or liabilities) with
 the result indicating whether a debtor is insolvent under the Balance Sheet Test as of the
 valuation date.19

                       (1) Market Approach

      The Market Approach indicates the Fair Market Value of a company based on its market
 capitalization (if publicly traded) or a comparison of the subject company to similar publicly
 traded companies and transactions in its industry.20 The Market Approach can be applied
 through a number of different methods including the Guideline Publicly Traded Company
 Method, the Guideline M&A Method, and the Observable Market Value Method.

                          (a) Guideline Publicly Traded Company Method

      The Guideline Publicly Traded Company Method provides an indication of the Fair
 Market Value of a business by developing valuation multiples based on prices at which
 securities of similar companies are trading in a public market.21 These market-based multiples
 are then applied to the operating results of the subject business, resulting in an estimate of the
 Fair Market Value of invested capital or equity (depending on the nature of the multiple


 15   SHANNON P. PRATT WITH ALINA V. NICULITA, VALUING A BUSINESS: THE ANALYSIS AND APPRAISAL OF
      CLOSELY HELD COMPANIES 62 (5th ed. 2008).
 16   For example, the DCF Method is a method under the Income Approach, the Guideline Publicly Traded
      Company Method is a method under the Market Approach, and the Adjusted Book Value Method is a method
      under the Asset-Based Approach.
 17   Statutory Comm. of Unsecured Creditors ex rel. Iridium Operating LLC v. Motorola, Inc. (In re Iridium
      Operating LLC), 373 B.R. 283, 351 (Bankr. S.D.N.Y. 2007) (noting that certain valuation methods may be
      preferred in certain circumstances).
 18   Invested capital is defined as the sum of equity and interest-bearing debt in a business. INTERNATIONAL
      GLOSSARY OF BUSINESS VALUATION TERMS, Statement on Standards for Valuation Services No. 1 app. B, at
      45 (Am. Inst. of Certified Pub. Accountants 2007), http://www.aicpa.org/InterestAreas/
      ForensicAndValuation/DownloadableDocuments/SSVS_Full_Version.pdf.
 19   Section VI.B.5 discusses the treatment of contingent or unliquidated liabilities for purposes of the Balance
      Sheet Test.
 20   SHANNON P. PRATT WITH ALINA V. NICULITA, VALUING A BUSINESS: THE ANALYSIS AND APPRAISAL OF
      CLOSELY HELD COMPANIES 265, 310 (5th ed. 2008).
 21   Id. at 265.

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 applied) on a marketable, minority basis. A premium for control, if applicable, is then applied
 to the equity to indicate the Fair Market Value of equity of the subject business on a
 marketable, controlling basis.22 The Fair Market Value of debt is added to derive the Fair
 Market Value of invested capital.

      The Guideline Publicly Traded Company Method is also known as the “Comparable
 Company” approach for its direct reliance on a set of comparable companies to estimate the
 market value of the subject company, or as the “Market Multiple” approach for its direct
 reliance on the selection of an appropriate range of risk-adjusted multiples based upon
 revenues, earnings, or some other appropriate measure under the circumstances to determine
 the value of a business.23

                         (b) Guideline M&A Method

      The Guideline M&A Method estimates the Fair Market Value of a business based on
 exchange prices in actual transactions for controlling interests in similar companies.24 This
 process involves comparison and correlation of the subject business with similar companies
 acquired within a reasonable time of the valuation date. Considerations such as location, time
 of sale, operating characteristics, and conditions of sale are analyzed for the guideline
 companies. This variation of the Market Approach results in an indicated Fair Market Value
 of the subject business on a marketable, controlling basis.25

                         (c) Observable Market Value Method

       The Observable Market Value Method relies on the use of the quoted market prices of
 the equity and/or debt securities of the subject company trading in active, well-informed, and
 efficient markets. For purposes of the Balance Sheet Test, this method assumes that the
 combined market value of the company’s debt and equity is a proxy for the Fair Market Value
 of the company’s assets, net of non-debt current liabilities.26

      For equity, the quoted market price per share is multiplied by the number of equity shares
 outstanding to yield the Fair Market Value of the equity of a business on a marketable,
 minority basis. A premium for control, if applicable, is then applied to indicate the Fair
 Market Value of the equity of a business on a marketable, controlling basis.27 For debt, the
 22   Id. at 265–269.
 23   Lids Corp. v. Marathon Inv. Partners, L.P. (In re Lids Corp.), 281 B.R. 535, 540, 542–543 (Bankr. D. Del.
      2002).
 24   SHANNON P. PRATT WITH ALINA V. NICULITA, VALUING A BUSINESS: THE ANALYSIS AND APPRAISAL OF
      CLOSELY HELD COMPANIES 310 (5th ed. 2008).
 25   Id. at 311.
 26   The sum of the interest-bearing debt and equity of a company (i.e., invested capital) is equivalent to the total
      assets of a company, net of non-debt current liabilities.
 27   This represents the value of the equity component of a company’s overall capital structure and is not
      necessarily indicative of solvency.

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 quoted market price is multiplied by the face value of debt to yield the Fair Market Value of
 debt. The equity and debt values are combined to arrive at the indicated Fair Market Value of
 invested capital of the business on a marketable, controlling basis.

      The Observable Market Value Method, also known as the “Market Capitalization
 Method” or the “Stock and Debt” method, 28 focuses on a “company’s stock price [as] an
 ‘ideal datapoint’ for determining value.”29 This method can be advantageous because it is
 “untainted by hindsight or post-hoc litigation interests.”30 Moreover, recognizing that
 individual equity prices represent a minority equity interest in the company, a control
 premium adjustment may be necessary.31 The application of a control premium, when
 warranted, results in the Fair Market Value of an entity on a controlling basis exceeding the
 Fair Market Value of an entity on a non-controlling or minority basis. The Observable Market
 Value Method may not be appropriate in circumstances where markets are illiquid, inefficient,
 or where events drive market prices away from the economic fundamentals of the business.32

                     (2) Asset-Based Approach

      The Asset-Based Approach indicates the Fair Market Value of a business by adjusting the
 assets and liabilities of the subject company to their market value equivalents.33 The Asset-
 Based Approach is based on the summation of the individual values of the underlying assets,
 properties, and/or business units of a company. This approach can be performed using the
 “Adjusted Book Value Method,”34 which involves examining the book value of a company’s
 28   BRADFORD CORNELL, CORPORATE VALUATION 34 (1993).
 29   Statutory Comm. of Unsecured Creditors ex rel. Iridium Operating LLC v. Motorola, Inc. (In re Iridium
      Operating LLC), 373 B.R. 283, 291 (Bankr. S.D.N.Y. 2007) (“[P]ublic markets constitute a better guide to
      fair value than the opinions of hired litigation experts whose valuation work is performed after the fact and
      from an advocate’s point of view.” (citing VFB LLC v. Campbell Soup Co., 482 F.3d 624 (3d Cir. 2007))).
 30   In re Iridium, 373 B.R. at 346 (citing VFB LLC v. Campbell Soup Co., Civ.A.02-137 KAJ, 2005 WL
      2234606, at *22 (D. Del. Sept. 13, 2005), aff’d, 482 F.3d 624 (3d Cir. 2007)).
 31   ACCOUNTING STANDARDS CODIFICATION 350-20-35-23 (FASB 2013).
 32   In re Emerging Comm’cns, Inc. Shareholders Litig., No. Civ.A 16415, 2004 WL 1305745, at *23 (Del. Ch.
      June. 4, 2004) (noting that under Delaware law, “the market price of shares is not always indicative of value,”
      and rejecting defendant’s argument that the market price of its stock corroborated the fair value of defendant,
      in part because defendant’s expert testified that “markets occasionally make errors, . . . it is possible for a
      stock that trades even in an efficient market to be mispriced, especially in the short run, . . . [and] the market
      may be inefficient if material information is withheld from it” (internal citations omitted)).
 33   For purposes of the Balance Sheet Test, it is only necessary to estimate the Fair Market Value of the total
      assets when applying the Asset-Based Approach. The Fair Market Value of the total assets is then compared
      to the face value of the total liabilities to assess insolvency. Total liabilities include interest-bearing liabilities,
      non-interest bearing liabilities (i.e., payables, accrued expenses, and other current and non-current liabilities,
      etc.), and contingent and/or unliquidated liabilities.
 34   SHANNON P. PRATT WITH ALINA V. NICULITA, VALUING A BUSINESS: ANALYSIS AND APPRAISAL OF
      CLOSELY HELD COMPANIES 352 (5th ed. 2008).

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 assets and liabilities and making adjustments to reflect market value. The book value is
 generally the accounting value of a company’s assets and liabilities as determined under
 GAAP, which is then subjected to adjustments to reflect market value.35 One should also
 consider any off-balance sheet assets or liabilities when applying the Adjusted Book Value
 Method to estimate the Fair Market Value of a business, as discussed in Section VI.B.5.
 Courts caution that accounting values may not be reflective of Fair Market Value, and, in
 particular, certain assets and liabilities may not be listed on the balance sheet because GAAP
 limits inclusion on the balance sheet to known and quantifiable assets and liabilities.36
                    (3) Income Approach
      The Income Approach indicates the Fair Market Value of a business based on the value
 of the cash flows the business can be expected to generate in the future.37 This analysis is
 commonly performed using the DCF Method, which discounts a projection of a company’s
 future cash flows to present value at an appropriate discount rate.38 Typically, the DCF
 Method has three basic components: (1) an estimation of projected net cash flows that the firm
 will generate over a relevant and discrete period; (2) a terminal or residual value equal to the
 future value, as of the end of the projection period, of the firm’s net cash flows beyond the
 projection period; and (3) a cost of capital with which to discount to a present value both the
 projected net cash flows and the estimated terminal or residual value.39
      Contemporaneous projections should be considered for their reasonableness and whether
 they were prudently prepared when applying the Income Approach.40 The Examiner’s
 Financial Advisors reviewed various sets of ResCap’s projections prepared from 2006 through
 2010 and did not find these projections to be reliable for purposes of assessing insolvency for
 several reasons, including: (1) ResCap’s historical inability to meet its annual budgets and
 financial projections; (2) ResCap management’s commentary regarding the difficulty of
 forecasting the performance of key assets of its business;41 and (3) the significant uncertainty
 35   Lids Corp. v. Marathon Inv. Partners, L.P. (In re Lids Corp.), 281 B.R. 535, 540, 542–43 (Bankr. D. Del.
      2002).
 36   Trans World Airlines, Inc. v. Travellers Int’l AG. (In re Trans World Airlines, Inc.), 180 B.R. 389, 405 n.22
      (Bankr. D. Del. 1994) (noting that “the balance sheet is merely a starting point for the analysis”),
      aff’d, 134 F.3d 188 (3d Cir. 1998).
 37   SHANNON P. PRATT WITH ALINA V. NICULITA, VALUING A BUSINESS: ANALYSIS AND APPRAISAL OF
      CLOSELY HELD COMPANIES 175–76 (5th ed. 2008).
 38   MFS/Sun Life Trust-High Yield Series v. Van Dusen Airport Servs. Co., 910 F. Supp. 913, 925 (S.D.N.Y.
      1995).
 39   Id.; see also SHANNON P. PRATT WITH ALINA V. NICULITA, VALUING A BUSINESS: ANALYSIS AND
      APPRAISAL OF CLOSELY HELD COMPANIES 174–76 (5th ed. 2008).
 40   Statutory Comm. of Unsecured Creditors ex rel. Iridium Operating LLC v. Motorola, Inc. (In re Iridium
      Operating LLC), 373 B.R. 283, 345 (Bankr. S.D.N.Y. 2007) (citation omitted).
 41   See, e.g., E-mails between D. Applegate, E. Feldstein, and S. Khattri (Jan. 27–28, 2007) [EXAM10163216];
      Residential Capital, LLC, Quarterly Report (Form 10-Q) (May 7, 2008), at 85; Residential Capital, LLC,
      Annual Report (Form 10-K) (Feb. 27, 2009), at 39; Residential Capital, LLC, Quarterly Report (Form 10-Q)
      (May 11, 2009), at 28–29.

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 and volatility in the mortgage industry during the relevant time period.42 The Examiner’s
 Financial Advisors did not consider the Income Approach to be reliable for purposes of
 evaluating ResCap’s insolvency for these reasons.

                d. Retrojection And Projection

      Recognizing that evidence of insolvency at the time of a transfer or obligation may be
 sparse,43 some courts have accepted evidence of insolvency from dates before or after the
 stated transfer as indicative of insolvency as of a separate date.44 A plaintiff must prove a
 debtor’s insolvency at the beginning or end of a specified time period. Employing retrojection
 or projection, a court may find that the debtor was insolvent during the time period between




 42   See Section VI.C.4.a.
 43   Killips v. Schropp (In re Prime Realty, Inc.), 380 B.R. 529, 535 (B.A.P. 8th Cir. 2007) (“[A] plaintiff may
      establish that the debtor was insolvent when it made the transfers in question if the plaintiff can establish both
      that the debtor was insolvent shortly after making the transfers and that the debtor’s financial condition did
      not substantially change in the interim.”); Weaver v. Kellogg, 216 B.R. 563, 576 (Bankr. S.D. Tex. 1997)
      (citing David G. EPSTEIN ET AL., BANKRUPTCY § 6–49 (1992)); N.Y. Credit Men’s Adjustment Bureau, Inc. v.
      Adler, 2 B.R. 752, 756 n.5 (Bankr. S.D.N.Y. 1980) (“[Retrojection] has been often employed and often
      approved. Indeed, it provides the only reliable means of determining solvency when the basic data normally
      available, such as books and inventory, are incomplete or missing.”); Dahar v. Jackson (In re Jackson), 318
      B.R. 5, 16 (Bankr. D.N.H. 2004) (“Insolvency is not always susceptible to direct proof and frequently must be
      determined by proof of other facts or factors from which the ultimate fact of insolvency on the transfer dates
      must be inferred or presumed.” (quoting Hassan v. Middlesex Cnty. Nat’l Bank (In re Mystic Pipe & Supply
      Corp.), 333 F.2d 838, 840 (1st Cir. 1964) (citation omitted))); see Daneman v. Stanley (In re Stanley), 384
      B.R. 788, 807 (Bankr. S.D. Ohio 2008) (“A retrojection analysis begins with a debtor’s financial condition at
      a certain point in time (typically the petition date) and extrapolates back in time in an attempt to show that the
      debtor must have been insolvent at some earlier relevant time (e.g., the date of an alleged fraudulent
      transfer).”); Wash. Bancorporation v. Hodges (In re Wash. Bancorporation), 180 B.R. 330, 334 (Bankr.
      D.D.C. 1995).
 44   Bruno Mach. Corp. v. Troy Die Cutting Co. (In re Bruno Mach. Corp.), 435 B.R. 819, 838 (Bankr. N.D.N.Y.
      2010) (“Because of the ‘difficulty in valuing the assets and liabilities of a debtor on the exact date of a
      preferential transfer,’ courts use ‘the well-established bankruptcy principles of retrojection and projection,
      which provide for the use of evidence of insolvency on a date before and after the preference date as
      competent evidence of the debtor’s insolvency on the preference date.’” (quoting Coated Sales, Inc. v. Glantz
      (In re Coated Sales, Inc.), 144 B.R. 663, 666 (Bankr. S.D.N.Y. 1992))); Daneman v. Stanley (In re Stanley),
      384 B.R. 788, 807 (Bankr. S.D. Ohio 2008) (“As its name suggests, retrojection is the inverse of projection.”).

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 two valuation dates, or within a reasonable time period prior or subsequent to a valuation
 date,45 providing there are no intervening events that could have led to the insolvency.46

       3. Summary Of Examiner’s Conclusions

      The Examiner concludes that the evidence supports the proposition that ResCap was
 balance sheet solvent on May 4, 2005, the date that AFI announced the capitalization of
 ResCap,47 and was balance sheet insolvent from December 31, 2007 through the Petition
 Date.48 The Examiner’s conclusions are based on the results of the Balance Sheet Test
 prepared by the Examiner’s Financial Advisors and consideration of the contemporaneous
 facts and circumstances underlying the changes in ResCap’s financial condition from 2005
 through the Petition Date, as described herein.

      The Examiner’s Financial Advisors estimated the Fair Market Value of ResCap using a
 Market Approach and an Asset-Based Approach under a going concern premise of value.49
 The Examiner’s Financial Advisors employed the Market Approach using the Guideline
 Publicly Traded Company Method to value ResCap’s equity and the Observable Market Value




 45   In re Stanley, 384 B.R. at 807 (noting that “[r]etrojection can be used to go back days, weeks or even several
      months in time,” but holding that the use of “retrojection to go back nearly two years in time stretches
      retrojection analysis past its breaking point”); Silagy v. Gagnon (In re Gabor), 280 B.R. 149, 160 (Bankr.
      N.D. Ohio 2002) (concluding that debtor was insolvent based upon amounts set forth in bankruptcy petition
      that was filed six months after the transfer and there had been “little change in debtor’s income and life for
      several years”); Weaver, 216 B.R. at 576 (“Plaintiff may be able to prove insolvency at earlier periods
      through the process of ‘retrojection,’ i.e. ‘showing that the debtor was insolvent a reasonable time . . . after the
      transfer and that the debtor’s financial condition did not materially change during the intervening period.’”
      (internal citations omitted)); Mancuso v. T. Ishida USA, Inc. (In re Sullivan), 161 B.R. 776, 783–84 (Bankr.
      N.D. Tex. 1993) (“The Court finds itself . . . with credible evidence that [debtor] was hugely insolvent both
      six months before and six months after the transaction in question. ‘Where there is clear proof of insolvency
      on a given date and no subsequent financial change, the courts are prone to find that the Debtor was also
      insolvent on the earlier date at issue. Furthermore, the usual presumption is that a known condition will
      continue to exist under similar circumstances for a reasonable time.”) (quoting Kleinfeld v. Nacol (In re
      Nacol), 36 B.R. 566, 568 (Bankr. M.D. Fla. 1983))). But see War Eagle Floats, Inc. v. Travis (In re War
      Eagle Floats), 104 B.R. 398, 400 (“Six months is simply too long a period considering the strict requirements
      of § 548(a)(2) specifically necessitating evidence of insolvency on the date of the transfer at issue.”).
 46   Pryor v. Tiffen (In re TC Liquidations LLC), 463 B.R. 257, 274–75 (Bankr. E.D.N.Y. 2011); McColley v.
      Navaro Gem Ltd. (In re Candor Diamond Corp.), 68 B.R. 588, 594 n.5 (Bankr. S.D.N.Y. 1986) (discussing
      the use of “retrojection by which a later finding of insolvency is read into an earlier period if there is evidence
      that there was no change in financial condition”) (citing Braunstein v. Mass. Bank & Trust Co., 443 F.2d
      1281, 1284 (1st Cir. 1971)).
 47   General Motors Acceptance Corporation, Current Report (Form 8-K) (May 4, 2005), Ex. 99.1.
 48   The Examiner’s conclusion that ResCap was balance sheet solvent on May 4, 2005 also pertains to RFC and
      GMAC Mortgage.
 49   The Income Approach was considered but not applied for reasons discussed herein.

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 Method to value ResCap’s interest-bearing debt.50 These values were then combined to yield
 the Fair Market Value of ResCap’s invested capital under the Market Approach. The
 Examiner’s Financial Advisors also employed the Asset-Based Approach using the Adjusted
 Book Value Method to estimate the Fair Market Value of ResCap’s assets. The Examiner’s
 Financial Advisors performed the valuation analyses on a quarterly basis from December 31,
 2005 through December 31, 2011.51

      Under the Market Approach, ResCap’s total interest-bearing debt was subtracted from
 the Fair Market Value of ResCap’s invested capital to determine the Fair Market Value
 surplus/(deficit).52 Under the Asset-Based Approach, ResCap’s total liabilities were subtracted
 from the Fair Market Value of ResCap’s total assets to determine the Fair Market Value
 surplus/(deficit).53

      The valuation analysis shows a Fair Market Value deficit indicating insolvency under the
 Balance Sheet Test as of December 31, 2007, and remaining as of each quarterly measurement
 date through the end of 2011.54 The following exhibits summarize the results of the Balance
 Sheet Test for ResCap.




 50   The Guideline M&A Method was also considered but not applied because of the lack of a sufficient number
      of timely transactions as of the quarterly measurement dates, most notably from 2007 through 2009. It is
      common to consider transactions occurring within the prior one to three years when applying the Guideline
      M&A Method. However, given the volatility in the mortgage industry from 2007 through 2009, the use of
      more timely transactions in the Guideline M&A Method was deemed necessary to arrive at reliable
      indications of value as of each measurement date. Because there were few such transactions, the Examiner’s
      Financial Advisors deemed the Guideline M&A Method to be less reliable than the other methods utilized
      herein.
 51   The Examiner’s Financial Advisors selected quarterly measurement dates due in part to the availability of
      necessary financial information.
 52   The Examiner’s Financial Advisors’ application of the Market Approach estimates the Fair Market Value of
      ResCap’s invested capital, which equals the Fair Market Value of assets net of non-interest-bearing liabilities.
      Therefore, to assess ResCap’s insolvency under the Market Approach, only interest-bearing debt is subtracted
      from the Fair Market Value of invested capital.
 53   The Examiner’s Financial Advisors’ application of the Asset-Based Approach estimates ResCap’s total asset
      value. Therefore, to assess ResCap’s insolvency under the Asset-Based Approach, total liabilities are
      subtracted. Total liabilities include interest-bearing liabilities, non-interest bearing liabilities (i.e., payables,
      accrued expenses, and other current and non-current liabilities, etc.), and contingent and/or unliquidated
      liabilities.
 54   ResCap was a “disregarded entity” for federal income tax purposes subsequent to November 2006. Under a
      Fair Market Value standard, the Examiner’s Financial Advisors assumed that tax obligations, if any, would be
      paid at either the ResCap level or at the acquirer level. Accordingly, the Examiner’s Financial Advisors did
      not assign any incremental value to the tax status of ResCap for purposes of assessing financial distress in
      these circumstances.

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     The Examiner’s Financial Advisors used their professional judgment to select appropriate
weightings for each valuation approach in assessing ResCap’s insolvency. Authoritative
valuation literature states “there are no scientific formulas or specific rules to use with regard to
the weighting of the results of two or more valuation methods” and the final value conclusion
should be “derived from the analyst’s reasoning and judgment of all the factors considered and
from the impartial weighting of all of the market-derived valuation evidence.”55
     The Examiner’s Financial Advisors determined that the Asset-Based Approach was not a
reliable indicator of the value of ResCap for the period from December 31, 2005 through
June 30, 2007, because ResCap was deemed to have intangible value associated with its business
model not reflected on the balance sheet. This intangible value was not captured in the
55   SHANNON P. PRATT WITH ALINA V. NICULITA, VALUING A BUSINESS: THE ANALYSIS AND APPRAISAL OF
     CLOSELY HELD COMPANIES 477–78 (5th ed. 2008).

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 Examiner’s Financial Advisors’ application of the Asset-Based Approach. For this reason, the
 Examiner’s Financial Advisors placed full weight on the results of the Market Approach, and
 no weight was given to the results of the Asset-Based Approach from December 31, 2005
 through June 30, 2007.
      The Examiner’s Financial Advisors equally weighted the results of the Market Approach
 and the Asset-Based Approach to assess ResCap’s insolvency for the period from
 September 30, 2007 through December 31, 2009. As described in Section III, there was a
 severe dislocation in the capital markets in August 2007 which had a dramatic effect on the
 mortgage industry. Many mortgage companies did not survive this market dislocation and
 consequently filed for bankruptcy relief.56 In August 2007, credit analysts noted the distressed
 trading levels of ResCap’s securities and indicated that ResCap’s business model was no
 longer viable.57 Indeed, ResCap wrote off the entirety of its acquired intangible assets during
 the third quarter of 2007.58 Additionally, ResCap was dependent on financial support (capital
 contributions and debt forgiveness) from AFI during this period.
      The Examiner’s Financial Advisors did not consider the Market Approach to be a reliable
 indicator of the value of ResCap after December 31, 2009, because of the impact of TARP
 funds received by AFI on the market prices of ResCap’s public debt. As discussed in Section
 VI.B.4.a(3), the receipt of TARP funding by AFI had a significant upward impact on the
 pricing of ResCap’s debt securities, particularly in early 2010. As shown in Exhibit
 VI.B.4.a(3)—2, immediately following each round of TARP funding to AFI, the pricing of
 ResCap’s debt securities increased dramatically. After receiving the third round of TARP
 funding in the amount of $3.8 billion on December 30, 2009, Carpenter stated, “[t]hese
 decisive balance sheet actions and resulting capital infusions are intended to minimize the
 impact on [AFI] and Ally Bank of any significant future losses related to ResCap’s legacy
 mortgage business.”59 Following Carpenter’s statement, analysts commented that the U.S.
 Treasury “pumped in another $3.8 billion into [AFI] largely so that [AFI] could support
 ResCap, which is ring-fenced off from [AFI] and lacks a compelling ongoing business model”
 and added that “[w]e are at a loss for words over the complete lack of logic behind using tax
 dollars to support ResCap.”60 The Examiner’s Financial Advisors deemed the market prices of
 ResCap’s debt securities to be an unreliable proxy for determining the value of ResCap after
 December 31, 2009, because of the cumulative influence of AFI’s receipt of TARP funds on
 56   See Section VI.B.4.a(1)(a)(iv) (discussing the bankruptcies of certain mortgage companies).
 57   KABIR CAPRIHAN & MONICA PAREKH, JPMORGAN, COUNTRYWIDE AND RESIDENTIAL CAPITAL CORP
      RECOVERY, LIQUIDITY, BALANCE SHEET BURN, ETC. 1, 10 (Aug. 21, 2007).
 58   The intangible asset value on ResCap’s balance sheet reflected acquired intangible assets and did not reflect
      the value of non-acquired intangible assets, if any. A write-off of all acquired intangible value may suggest
      that the value of any non-acquired intangible assets of ResCap (or the specific ResCap reporting unit) was
      similarly impaired.
 59   GMAC to Receive $3.8 Bln. in Third Bailout by U.S. Treasury, RTT NEWS, (Dec. 30, 2009),
      http://www.rttnews.com/1168552/gmac-to-receive-3-8-bln-in-third-bailout-by-u-s-treasury.aspx.
 60   See Karen Brettell, US CREDIT–ResCap Rallies on Capital Support, Risks Remain, REUTERS, (Jan. 4, 2010),
      (quoting CreditSight analysts Adam Steer and David Hendler), http://www.reuters.com/article/
      2010/01/04/markets-credit-idUSN0457155120100104.

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 the market prices of ResCap public debt. Accordingly, the Examiner’s Financial Advisors
 placed full weight on the results of the Asset-Based Approach from March 31, 2010 through
 the Petition Date.

    4. Application Of The Balance Sheet Test

      The Examiner’s Financial Advisors performed a Balance Sheet Test of ResCap’s
 insolvency at the end of each quarter from December 31, 2005 through December 31, 2011.
 The standard of value applied in the application of the Balance Sheet Test was Fair Market
 Value, which was estimated on a non-marketable, controlling basis. Appropriate discounts or
 premiums were considered and applied, as appropriate, for each valuation approach. The Fair
 Market Value of ResCap was estimated under a going concern premise of value. The
 Examiner’s Financial Advisors used two generally accepted valuation approaches to assess
 ResCap’s insolvency: (1) the Market Approach; and (2) the Asset-Based Approach.

            a. Market Approach

      The Examiner’s Financial Advisors used two market-based valuation methodologies to
 estimate the Fair Market Value of ResCap’s invested capital. The Guideline Publicly Traded
 Company Method was used to estimate the Fair Market Value of ResCap’s equity because
 ResCap’s equity was not publicly traded. A significant portion of ResCap’s interest-bearing
 debt, however, was traded in the secondary market where transaction prices could be
 observed. This allowed for the application of the Observable Market Value Method to value
 ResCap’s interest-bearing debt. The estimated Fair Market Value of ResCap’s equity and
 interest-bearing debt were summed to arrive at the Fair Market Value of ResCap’s invested
 capital.

               (1) Valuation Of The Equity Of ResCap

      The Guideline Publicly Traded Company Method was used to estimate the Fair Market
 Value of ResCap’s equity based on a comparison of ResCap to guideline publicly traded
 companies with similar characteristics. Once the guideline companies were identified,
 valuation multiples of the publicly traded companies were then determined. These valuation
 multiples were then applied to ResCap’s financial metrics to indicate the value of ResCap’s
 equity on a marketable, minority basis. A private company discount and a control premium
 were applied, to the extent warranted, to arrive at the Fair Market Value of ResCap’s equity on
 a non-marketable, controlling basis.

                   (a) Selection Of Guideline Companies

      The first step in the application of the Guideline Publicly Traded Company Method is the
 selection of guideline publicly traded companies. The Examiner’s Financial Advisors
 identified and considered publicly traded companies whose businesses were comprised
 principally of residential mortgage operations and assets. The following provides the
 framework for the selection process and descriptions of the guideline companies.

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      The Examiner’s Financial Advisors reviewed analyst and industry reports, and used the
 Capital IQ database, to gather information about companies operating in the mortgage
 industry during the period from 2005 through 2011. The Examiner’s Financial Advisors
 reviewed ResCap analyst reports from HSBC,61 Bear Stearns,62 and JPMorgan,63 which
 identified companies with similarities to ResCap during that time frame. The Examiner’s
 Financial Advisors also reviewed mortgage finance industry reports from Bear Stearns,64
 Fox-Pitt,65 Credit Suisse,66 and Sterne Agee,67 which also identified numerous companies

 61   VAN HESSER & DAPHNE FENG, HSBC, RESIDENTIAL CAPITAL, LLC LOOKING FOR SOMEONE TO TAKE THE
      OTHER SIDE OF THE TRADE (Nov. 20, 2007); VAN HESSER & DAPHNE FENG, HSBC, RESIDENTIAL CAPITAL
      CORP. DOWNGRADE RISK HAS RISEN TO MORE LIKELY THAN NOT (July 19, 2007); VAN HESSER & DAPHNE
      FENG, HSBC, RESIDENTIAL CAPITAL CORP: SCRUBBED, BUT HOW CLEAN? (Mar. 14, 2007); VAN HESSER &
      DAPHNE FENG, HSBC, RESIDENTIAL CAPITAL CORP. RELIEF RALLY AHEAD? (Feb. 23, 2007); VAN
      HESSER & DAPHNE FENG, HSBC, RESIDENTIAL CAPITAL CORP RESCAP GETS THE GREEN LIGHT (Nov. 17,
      2006); VAN HESSER & DAPHNE FENG, HSBC, RESIDENTIAL CAPITAL CORPORATION PROFITABLE, BUT
      DISAPPOINTING Q3 HIGHLIGHTS HEADWINDS (Oct. 25, 2006); VAN HESSER & DAPHNE FENG, HSBC,
      COUNTRYWIDE FINANCIAL AND RESIDENTIAL CAPITAL CORP MORTGAGE NAMES LANDING SOFTLY IN A
      MANAGEABLE ENVIRONMENT (Aug. 2, 2006); VAN HESSER & DAPHNE FENG, HSBC, RESIDENTIAL CAPITAL
      CORP. BOUNCEBACK (Apr. 20, 2006).
 62   IAN JAFFE & MICHAEL SCHALLER, BEAR STEARNS, RESIDENTIAL CAPITAL, LLC 2Q07 PRELIMINARY
      EARNINGS REVIEW (Aug. 1, 2007); IAN JAFFE & MICHAEL SCHALLER, BEAR STEARNS, RESIDENTIAL
      CAPITAL, LLC 2Q07 PREVIEW AND INTERMEDIATE-TERM OUTLOOK (July 30, 2007); IAN JAFFE & MICHAEL
      SCHALLER, BEAR STEARNS, RESIDENTIAL CAPITAL, LLC 1Q07 PRELIMINARY EARNINGS REVIEW (May 3,
      2007); IAN JAFFE & MICHAEL SCHALLER, BEAR STEARNS, RESIDENTIAL CAPITAL, LLC FIGHTING THE
      SUBPRIME CREDIT HEADWINDS . . . TIME HORIZON IS KEY (Mar. 6, 2007).
 63   KABIR CAPRIHAN & MONICA PAREKH, JPMORGAN, COUNTRYWIDE AND RESIDENTIAL CAPITAL CORP
      RECOVERY, LIQUIDITY, BALANCE SHEET BURN, ETC. (Aug. 21, 2007).
 64   SCOTT COREN ET AL., BEAR STEARNS, MORTGAGE FINANCE SUB-PRIME ABS SPREAD MONITOR FOURTH
      QUARTER 2006 (Jan. 1, 2007); SCOTT COREN ET AL., BEAR STEARNS, MORTGAGE FINANCE SUB-PRIME ABS
      SPREAD MONITOR FOURTH QUARTER 2005 (Mar. 22, 2006).
 65   EDWIN GROSHANS & MATTHEW HOWLETT, FOX-PITT, US MORTGAGE FINANCE THE YEAR OF THE
      CLEANSING HEADWINDS (Dec. 21, 2006).
 66   MOSHE ORENBUCH & RAJAT BHU, CREDIT SUISSE, MORTGAGE FINANCE WEAK JOB MARKET COMPOUNDS
      HOUSING PROBLEMS (Jan. 9, 2009); MOSHE ORENBUCH & RAJAT BHU, CREDIT SUISSE, MORTGAGE FINANCE
      HOME PRICES; INVENTORY AND CREDIT CRUNCH DRIVE SECTOR SLOWDOWN (Sept. 10, 2008); MOSHE
      ORENBUCH & RAJAT BHU, CREDIT SUISSE, MORTGAGE FINANCE GSE TRAVAILS; HOME PRICES WEIGH ON
      OUTLOOK (July 16, 2008); MOSHE ORENBUCH, CREDIT SUISSE, MORTGAGE FINANCE INVENTORY
      OVERHANG PUSHES DOWN PRICES (June 5, 2008); MOSHE ORENBUCH, CREDIT SUISSE, MORTGAGE
      FINANCE: HOUSING STRUGGLES TO GAIN TRACTION (Apr. 11, 2008).
 67   JAMES ACKOR, STERNE AGEE, MORTGAGE FINANCE: EXPECTING DECENT 4Q08 RESULTS DESPITE A
      SOMEWHAT CHALLENGING OPERATING ENVIRONMENT—SEQUENTIAL EPS AND DPS GROWTH EXPECTED TO
      RESUME IN 1Q09 (Jan. 7, 2009); JAMES ACKOR, STERNE AGEE, MORTGAGE FINANCE: DEBT MARKET FEARS
      DRIVING HISTORIC DISCONNECT BETWEEN AGENCY MORTGAGE REIT PROFITABILITY AND STOCK
      VALUATIONS—POTENTIAL RETURNS COMPELLING (Nov. 25, 2008); JAMES ACKOR, STERNE AGEE,
      MORTGAGE FINANCE: AGENCY MORTGAGE REITS—CHOPPY EARNINGS SEASON EXPECTED—SLIGHT BIAS
      TOWARD DOWNSIDE SURPRISES—EXPECTED RETURNS AND VALUATIONS REMAIN ATTRACTIVE (Oct. 20,
      2008).

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 operating in the mortgage industry. Finally, the Examiner’s Financial Advisors performed
 numerous queries against the Capital IQ database to identify guideline companies that
 operated in the same or similar lines of business as ResCap.

      Based on this screening process, the Examiner’s Financial Advisors selected
 Countrywide, IndyMac, and WaMu as ResCap Guideline Companies. The Examiner’s
 Financial Advisors chose these companies because of the similarities to ResCap in their
 business operations, relative size, and exposure to prevailing industry conditions. The
 following is a brief description of each of the ResCap Guideline Companies.

                              (i) Countrywide

       Countrywide was a holding company engaged in mortgage lending and other finance-
 related businesses, including mortgage banking, retail banking and mortgage warehouse
 lending, securities dealing, insurance underwriting, and international mortgage loan
 processing and subservicing through its subsidiaries.68 Countrywide managed its business
 through five segments: (1) mortgage banking; (2) banking; (3) capital markets; (4) insurance;
 and (5) global operations.69 The mortgage banking segment, the core of Countrywide’s
 business, originated, purchased, securitized, and serviced mortgage loans.70 Countrywide
 originated and purchased prime mortgage loans, prime home equity loans, non-prime
 mortgage loans, and commercial real estate loans.71 The majority of loan production consisted
 of prime mortgage loans, which were prime credit quality first-lien mortgage loans secured by
 single-family residences.72 The banking segment operated a federally-chartered bank that
 invested in mortgage loans and home equity lines of credit primarily sourced through the
 company’s mortgage banking operation.73 The banking segment also provided short-term
 secured financing to mortgage lenders through a non-depository lending company.74 The
 capital markets segment operated an institutional broker-dealer that specialized in trading and
 underwriting mortgage-backed securities.75 During 2004, this segment began originating HFS
 loans secured by commercial real estate.76 This segment also managed acquisition and
 disposition of mortgage loans on behalf of Countrywide Home Loans, Countrywide’s primary
 mortgage banking subsidiary.77 The insurance segment offered property, casualty, life, and
 68   Countrywide Financial Corporation, Annual Report (Form 10-K) (Mar. 1, 2006), at 1.
 69   Id.
 70   Id.
 71   Id. at 2.
 72   This includes loans secured by one-to-four dwelling unit residential real estate. Id.
 73   Id. at 1.
 74   Id.
 75   Id.
 76   Id.
 77   Id.

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 credit insurance as an underwriter and as an independent agent, and also provided reinsurance
 coverage to primary mortgage insurers.78 Countrywide became a subsidiary of Bank of
 America on July 1, 2008, and continues to operate as such.79

      Countrywide was selected as a guideline company because of its similar operations,
 significant percentage of mortgage related assets, and reliance on the sale of mortgage-backed
 securities. Countrywide was used as a guideline company from December 31, 2005 through
 March 31, 2008.

                             (ii) IndyMac

       IndyMac was the holding company for IndyMac Bank, F.S.B., a hybrid thrift/mortgage
 bank.80 IndyMac provided financing for the acquisition, development, and improvement of
 single-family homes.81 IndyMac also provided financing secured by single-family homes and
 other banking products.82 IndyMac’s banking business model was based on two segments:
 mortgage banking and thrift.83 Mortgage banking involved the origination and trading of
 mortgage loans and related assets, and the servicing of those loans.84 The product lines
 included ARMs, hybrid ARMs, option ARMs offering borrowers multiple payment options,
 fixed-rate mortgages, both conforming and non-conforming, construction-to-permanent loans,
 subprime mortgages, and reverse mortgages.85 The thrift segment principally invested in
 single-family residential mortgage loans (predominantly prime ARMs, including hybrid
 ARMs), construction financing for single-family residences or lots provided directly to
 individual consumers, builder construction financing facilities for larger residential
 subdivision loans, home equity lines of credit, and mortgage-backed securities.86 IndyMac
 also had a warehouse lending business that provided short-term revolving warehouse lending
 facilities to small-to-medium sized mortgage bankers and brokers to finance mortgage loans.87
 IndyMac filed for relief under chapter 7 of the Bankruptcy Code on July 31, 2008.88




 78   Id.
 79   Bank of America Corporation, Annual Report (Form 10-K) (Feb. 27, 2009), at 17.
 80   IndyMac Bancorp, Inc., Annual Report (Form 10-K) (Mar. 1, 2006), at 4.
 81   Id.
 82   Id.
 83   Id. at 5.
 84   Id.
 85   Id. at 6.
 86   Id. at 9.
 87   Id.
 88   IndyMac Bancorp, Inc., Current Report (Form 8-K) (July 31, 2008), at 2.

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      IndyMac was selected as a guideline company because of its similar operations,
 significant percentage of mortgage-related assets, and the high percentage of its loans sold into
 securitizations. IndyMac was used as a guideline company from December 31, 2005 through
 March 31, 2008.

                            (iii) WaMu

      WaMu was a retailer of financial services to consumers and small businesses.89 WaMu’s
 earnings were primarily driven by lending to consumers, deposit-taking activities that
 generated net interest income, and activities that generated non-interest income, including the
 sale and servicing of loans and providing fee-based services to its customers.90

      WaMu had four operating segments: (1) the retail banking and financial services group;
 (2) home loans group; (3) card services group; and (4) the commercial group.91 The retail
 banking and financial services group offered a comprehensive line of deposit and other retail
 banking products and services to consumers and small businesses, originated, managed and
 serviced home equity loans and lines of credit, and provided investment advisory and
 brokerage services.92 The home loans group originated and serviced home loans, bought and
 sold home loans in the secondary market, and sold insurance.93 The card services group
 originated and serviced credit card loans and provided other cardholder services.94 The
 commercial group provided financing to developers and investors for the acquisition or
 construction of multi-family dwellings and other commercial properties, originated and
 serviced multi-family and other commercial real estate loans, provided financing and other
 banking services to mortgage bankers for the origination of residential mortgage loans, and
 originated and serviced home loans made to subprime borrowers.95

     WaMu sold substantially all assets of its principal operating subsidiary, Washington
 Mutual Bank, to JPMorgan Chase on September 25, 2008.96 WaMu filed for relief under
 chapter 11 of the Bankruptcy Code on September 26, 2008.




 89   Washington Mutual, Inc., Annual Report (Form 10-K) (Mar. 15, 2006), at 1.
 90   Id.
 91   Id. at 38.
 92   Id.
 93   Id. at 39.
 94   Id. at 40.
 95   Id.
 96   Decl. of Stewart M. Landefeld in Supp. of the Debtors’ Chapter 11 Pets. and First Day Mots., In re Wash.
      Mut., Inc., Case No. 08-12229, Docket No. 13, at 12.

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      WaMu was selected as a guideline company because of its similar operations,97
 significant percentage of mortgage-related assets, and reliance on securitizing loans. WaMu
 was used as a guideline company from December 31, 2005 through June 30, 2008.

                             (iv) Bankruptcies Of Other Mortgage Companies

      The Examiner’s Financial Advisors examined companies within the mortgage industry
 subject to the same adverse market conditions affecting ResCap in 2007, including a volatile
 interest rate environment, competitive mortgage pricing, declining housing appreciation, and
 tightening liquidity. Many of these companies did not survive the collapse of the mortgage
 industry and consequently filed for bankruptcy relief. The reasons for failure cited in the
 bankruptcy filings of New Century, American Home, Aegis, First Magnus, and Delta
 Financial provide additional context for ResCap’s decline in equity value during the second
 half of 2007, as discussed herein.

      New Century announced that it would be restating its financials in February 2007 and
 stopped accepting loan applications on March 8, 2007.98 New Century filed for relief under
 chapter 11 of the Bankruptcy Code on April 2, 2007, after a spike in margin calls. Aegis
 ceased all mortgage origination activity as of August 3, 2007.99 American Home filed for
 bankruptcy relief on August 6, 2007100 and First Magnus ceased operations on August 16,
 2007.101 They were each unable to meet margin calls and lost access to essential lines of
 credit. American Home’s CEO, Michael Strauss, stated that “the markets for these assets
 (mortgage-backed securities and mortgage loan holdings) have been disrupted to the point of
 dysfunction.”102

      Delta Financial received a small loan that helped it meet margin calls in the third quarter
 of 2007. However, after a failed attempt to securitize $900 million in loans, it too could not
 secure additional funding to support its business. Delta Financial filed for relief under chapter
 11 of the Bankruptcy Code on December 17, 2007.103
 97   While WaMu did offer services such as retail banking and card services, the vast majority of its balance sheet
      was comprised of mortgage-related assets. See Washington Mutual, Inc., Annual Report (Form 10-K)
      (Mar. 15, 2006), at 168–172.
 98   Decl. of Monika L. McCarthy in Supp. of Chapter 11 Pets. and First Day Relief, In re New Century TRS
      Holdings, Inc., Case No. 07-10416, Docket No. 2, at 10–14.
 99   Decl. of Edward S. Robertson, Executive VP and CFO of the Debtors, in Supp. of First Day Mots. In re Aegis
      Mortg. Corp., Case No. 07-11119, Docket No. 3, at 3.
 100 See Decl. of Michael Strauss in Supp. of the Debtors’ Chapter 11 Pets. and First Day Relief, In re Am. Home

      Mortg. Holdings, Inc., Case No. 07-11047, Docket No. 2, at 2.
 101 Decl. of Gurpreet S. Jaggi in Supp. of Debtor’s Chapter 11 Pet. and First Day Motions, In re First Magnus

      Fin. Corp., Case No. 07-01578, Docket No. 6, at 9.
 102 Decl. of Michael Strauss in Supp. of the Debtors’ Chapter 11 Pet. and First Day Relief, In re Am. Home

      Mortg. Holdings, Inc., Case No. 07-11047, Docket No. 2, at 10.
 103 Aff. of Hugh Miller in Supp. of Chapter 11 Pets. and First Day Relief, In re Delta Fin. Corp., Case No. 07-

      11880, Docket No. 3, at 2.

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                      (b) Calculation Of Market Multiples

      The Guideline Publicly Traded Company Method entails the calculation of valuation
 multiples based on publicly traded guideline companies that are then applied to a subject
 company’s relevant metrics. The Examiner’s Financial Advisors calculated the ratio of MVE
 to reported net book value of equity (commonly referred to as price-to-book or P/NBV).104
 The book value of equity and, correspondingly, book value multiples, are useful measures for
 determining the Fair Market Value of equity for companies comprised of financial assets.105
 The book value of equity for financial institutions is “much more likely to track the market
 value of equity invested in existing assets” and leads to stronger relationships between price-
 to-book ratios and returns on equity.106 Book value multiples are useful and widely used
 measures for valuing financial concerns.107

      Commonly used invested capital multiples such as “invested capital to EBITDA” and
 “invested capital to revenue” are generally not applicable to the valuation of financial
 companies, because “[w]ith a financial service firm, debt takes a different connotation. Rather
 than view debt as a source of capital, most financial firms view it as a raw material.”108
 Further, the Examiner’s Financial Advisors considered a price-to-earnings multiple but did not
 apply it because of ResCap’s negative earnings for the majority of the quarterly measurement
 dates.109

      After calculating the P/NBV multiples for the ResCap Guideline Companies, appropriate
 multiples were selected by evaluating factors such as the size, growth, and profitability of
 ResCap relative to the ResCap Guideline Companies. Based on an evaluation of these factors,
 the average P/NBV multiple of the ResCap Guideline Companies at each quarter was selected
 and applied in the valuation of ResCap’s equity from December 31, 2005 through June 30,
 2008. The following table details the selected P/NBV multiples for the ResCap Guideline
 Companies applied in the valuation of ResCap’s equity under the Guideline Publicly Traded
 Company Method from December 31, 2005 through June 30, 2008.
 104 The Examiner’s  Financial Advisors also considered the use of a P/TBVE multiple for valuing ResCap’s
    equity. Ultimately, the P/NBV multiple was selected because of the availability of industry P/NBV multiples
    from Ibbotson Associates which served as a basis for valuing ResCap’s equity subsequent to June 2008
    (Ibbotson Associates does not provide industry P/TBVE multiples in its quarterly publications). The use of a
    P/TBVE multiple would not, however, change the Examiner’s conclusions with respect to the Balance Sheet
    Test for ResCap.
 105 ASWATH DAMODARAN, INVESTMENT VALUATION: TOOLS AND TECHNIQUES FOR DETERMINING THE VALUE

    OF ANY ASSET 579 (2d ed. 2002).

 106 Id. at 599.

 107 Id. at 596.

 108 Id. at 576.

 109 Applying a market multiple to a negative income stream generally does not produce a meaningful value.

    Market multiples inherently contain a perpetuity assumption (i.e., going concern value). Applying a market
    multiple to a negative income stream implicitly assumes that the business will continue to produce negative
    income into perpetuity. Investors would liquidate the business before incurring losses into perpetuity.

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     The Examiner’s Financial Advisors considered the median P/NBV multiples for the overall
financial services industry within Standard Industrial Classification (“SIC”) Code 6,110 as
published by Ibbotson Associates111 for periods subsequent to June 30, 2008. This information
was analyzed because the ResCap Guideline Companies had either filed for bankruptcy relief or
been acquired by September 30, 2008, making the continued use of the ResCap Guideline
Companies from September 30, 2008 through the Petition Date impossible. The Examiner’s
Financial Advisors compared the average P/NBV multiple for the ResCap Guideline Companies
to the overall financial services industry multiple as of each quarterly date from December 31,
2005 through June 30, 2008. Based on this analysis, it was estimated that the average P/NBV
multiples of the ResCap Guideline Companies were approximately 70% of the P/NBV multiples
110 This includes companies operating primarily in the fields of finance, insurance, and real estate. Finance includes

   depository institutions, nondepository credit institutions, and broker dealers. Insurance covers carriers, agents,
   and brokers. Real estate includes owners, lessors, agents, and developers. IBBOTSON ASSOCS., STATISTICS FOR
   STANDARD INDUSTRIAL CLASSIFICATION SYS. CODE 6, FINANCE, INSURANCE, AND REAL ESTATE 1 (DEC.
   2005). SIC Code 6 was deemed appropriate because it encompassed the ResCap Guideline Companies (prior to
   their acquisition/bankruptcy filings) and was comprised of hundreds of companies, thus serving as a benchmark
   for the prevailing economic conditions in the financial services industry.
111 “The Ibbotson Cost of Capital Yearbook is a comprehensive source of industry-level financial data. The
   yearbook presents statistics critical in applying the income and market approaches to business valuation. Cost of
   equity, cost of capital, capital structure ratios, growth rates, industry multiples, and other useful financial data are
   presented for more than 300 industries . . . . This book is an excellent resource for industry analysis and is a
   useful tool for obtaining comparable market data applicable to privately held company valuation.” SHANNON P.
   PRATT & ROGER J. GRABOWSKI, COST OF CAPITAL: APPLICATIONS AND EXAMPLES 440 (4th ed. 2010).

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 of the overall industry during this period. Therefore, the Examiner’s Financial Advisors
 applied that percentage to the overall industry P/NBV multiples from March 31, 2009 through
 December 31, 2011,112 to estimate an appropriate P/NBV multiple for ResCap’s equity.113
 This approach is supported by authoritative valuation literature, which discusses the use of a
 peer group average multiple, as adjusted for differences, when a lack of financial information
 (in this case the absence of guideline companies after June 30, 2008) prevents using guideline
 company multiples in a relative valuation (i.e. Market Approach).114

      The Examiner’s Financial Advisors also considered three bids to purchase ResCap’s
 assets or stock presented in October 2010 in assessing the reasonableness of the selected
 valuation multiples for 2010 and 2011. AFI’s financial advisors believed that acceptance of
 any of the bids would result in equity losses to ResCap ranging from approximately $23
 million to $650 million.115 Additionally, none of the buyers were willing to assume ResCap’s
 contingent or unliquidated liabilities for representation and warranty claims, absent a cap or
 indemnification from AFI.116 The Examiner’s Financial Advisors considered these bids to be
 informative with respect to the proposed purchase prices relative to book value and the
 significant risks perceived by market participants regarding ResCap’s contingent and/or
 unliquidated liabilities for representation and warranty-related claims.117

                      (c) Control Premium

     A control premium is an amount by which the pro rata value of a controlling interest
 exceeds the pro rata value of a non-controlling interest in a business enterprise. This premium
 or upward adjustment reflects the right and power of control, a property interest.118 The
 Guideline Publicly Traded Company Method derives value indications from trading prices of
 minority equity interests in a liquid market and indicates value on a marketable, minority

 112 The Examiner’s Financial Advisors applied the relative multiple percentage of 31.8% as of June 30, 2008 for

    the September 30, 2008 and December 31, 2008 measurement dates to reflect continuing deterioration in the
    mortgage industry during the second half of 2008.
 113 The Examiner’s Financial Advisors recognize the limitations of this estimation method. However, the
    application and results were deemed reasonable for purposes of evaluating ResCap’s insolvency.
 114 ASWATH DAMODARAN, DAMODARAN ON VALUATION: SECURITY ANALYSIS FOR INVESTMENT AND
    CORPORATE FINANCE 17 (2d ed. 2006).
 115 Mortgage Strategic Alternatives Presentation, dated Oct. 29, 2010, at ALLY_0263412 [ALLY_0263337].

 116 Contemporaneous documents indicate that Ocwen and Centerbridge were unwilling to assume any exposure

    for contingent or unliquidated liabilities related to representation and warranty claims. Fortress was
    apparently willing to discuss assuming some exposure for such claims, subject to a cap. Id. at
    ALLY_0263416.
 117 According to internal documents, Fortress bid $500 million for a 51% equity interest with a corresponding

    book value of $740 million, which implied a P/NBV multiple of 0.68. Id. at ALLY_0263412. This implied
    bid multiple served to cross-validate the selected P/NBV multiples for the late 2010 and early 2011
    measurement dates.
 118 SHANNON P. PRATT, BUSINESS VALUATION: DISCOUNTS AND PREMIUMS 16, 32 (2d ed. 2009).



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 basis. A control premium is then applied, when warranted, to estimate the value of equity on a
 controlling basis. For purposes of assessing ResCap’s insolvency, a 100% controlling basis
 was assumed.

      The Examiner’s Financial Advisors reviewed observed equity transaction control
 premiums paid in the “Banking & Finance” and the “Brokerage, Investment & Management
 Consulting” industries for the years 2006 through 2011 as published by Mergerstat.119 This
 information provided a wide range of annual average transaction premiums, generally ranging
 from 18% to 67%.120 The Examiner’s Financial Advisors also considered the volatility in the
 mortgage industry and the market’s concerns about the viability of ResCap’s business
 model.121 These are relevant facts that a buyer would consider in deciding whether a premium
 for a controlling equity interest in ResCap was warranted. In addition, the acquisition of one
 of ResCap’s Guideline Companies, Countrywide, by Bank of America in July of 2008 implied
 a negative control premium because of the distressed nature of Countrywide and the mortgage
 industry in 2008.122 The Examiner’s Financial Advisors selected and applied an equity control
 premium of 10% in the valuation of the equity of ResCap at each quarterly measurement date
 from December 31, 2005 through June 30, 2007. The Examiner’s Financial Advisors
 concluded that a control premium would not be warranted for ResCap from September 30,
 2007 through the Petition Date because of prevailing conditions in the mortgage industry.

                       (d) Private Company Discount

      As a private company, ResCap did not have publicly traded stock. A controlling interest
 in a private company may sell at a discount to a controlling interest in a publicly traded
 company for various reasons. A private company generally has limited access to financial
 markets, may have less financial transparency, and may incur additional costs to function on a
 stand-alone basis once separate from its current owner. There may also be less knowledge
 about the business among potential investors, including a more limited number of potential
 buyers and an inherently less competitive “bidding” process.123
 119 It is well recognized that the equity control premiums published by Mergerstat likely include a “synergistic”

    component in addition to a “financial control” component, as the transactions include both strategic and
    financial buyers. Therefore, the transaction premiums published in Mergerstat are generally considered to
    overstate the value of “financial control.” Id. at 64.
 120 FACTSET
           MERGERSTAT, 2012 MERGERSTAT REVIEW 81 (Bus. Valuation Res. LLC ed., 2012); FACTSET
    MERGERSTAT, 2011 MERGERSTAT REVIEW 81 (Bus. Valuation LLC Res. ed., 2011).
 121 KABIRCAPRIHAN & MONICA PAREKH, JPMORGAN, COUNTRYWIDE AND RESIDENTIAL CAPITAL CORP
    RECOVERY, LIQUIDITY, BALANCE SHEET BURN, ETC. 1 (Aug. 21, 2007).
 122 Based on transaction details provided by Capital IQ, the control premium paid by Bank of America was

    negative 7.4% one day prior to announcement, negative 14.8% one week prior to announcement and negative
    31.9% one month prior to announcement.
 123 Kathleen Fuller et al., What Do Returns to Acquiring Firms Tell Us? Evidence From Firms that Make Many

    Acquisitions, 57 J. FIN. 1763, 1784 (Aug. 2002); SHANNON P. PRATT, VALUING A BUSINESS: THE ANALYSIS
    AND APPRAISAL OF CLOSELY HELD COMPANIES 443–45 (5th ed. 2008).


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       Empirical evidence indicates that controlling interests in stand-alone private companies
 (and divisions of larger public companies) tend to sell at a discount to the values observed in
 control transactions involving similar publicly traded companies.124 Estimated average
 discounts tend to range from 0% to 30%. Evidence suggests that discounts are related to size
 and other characteristics, with smaller and lower growth privately held companies selling for
 higher discounts.125 Other evidence suggests that the observed discounts may be exaggerated
 to the extent that they include depressed prices for businesses sold by financially troubled
 parent companies.126 The Examiner’s Financial Advisors considered the facts and
 circumstances, including that ResCap was an SEC registrant with publicly available audited
 financial statements through the second quarter of 2009,127 and determined that a relatively
 low discount was appropriate. The Examiner’s Financial Advisors applied a 5% private
 company discount to the controlling equity interest in ResCap at each quarterly measurement
 date.

                      (e) Indicated Value Of The Equity Of ResCap

      The Examiner’s Financial Advisors selected the appropriate P/NBV multiples and
 applied them to ResCap’s reported book value to arrive at the indicated value of ResCap’s
 equity on a marketable, minority basis. The Examiner’s Financial Advisors then applied a
 control premium and private company discount, as applicable, to arrive at the indicated value
 of ResCap’s equity on a non-marketable, controlling basis. The following table summarizes
 the estimated Fair Market Value of ResCap’s equity on a quarterly basis from December 31,
 2005 through December 31, 2011.




 124 See, e.g., John Koeplin et al., The Private Company Discount, J. OF APPLIED CORP. FIN. (Winter 2000);

    Micah S. Officer, The Price of Corporate Liquidity: Acquisition Discounts for Unlisted Targets, 83 J. OF FIN.
    ECON. 571 (2007); Jean-Francois L’Her et al., A New Examination of the Private Company Discount: The
    Acquisition Approach, J. PRIVATE EQUITY (Summer 2003).
 125 Jean-Francois L’Her et al., A New Examination of the Private Company Discount: The Acquisition Approach,

    J. PRIVATE EQUITY (Summer 2003), at 54.
 126 Micah S. Officer, The Price of Corporate Liquidity: Acquisition Discounts for Unlisted Targets, 83 J. FIN.

    ECON. 571, 596–97 (2007).
 127 ResCap filed financial statements with the SEC through the second quarter of 2009. Subsequently, audited

    financials were available to holders of notes, prospective investors, and securities analysts at
    https://www.rescapholdings.com.

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     The results of the Guideline Publicly Traded Company Method using the P/NBV multiple
imply a positive market value of equity for ResCap. It is not appropriate to consider this positive
value of equity as an indication of solvency. Under the Balance Sheet Test, the Fair Market
Value of equity is combined with the Fair Market Value of debt to determine the Fair Market
Value of invested capital. The face value of debt is then deducted from the Fair Market Value of
invested capital, with a surplus indicating solvency and a deficit indicating insolvency as of the
measurement date.128




128 A determination that ResCap was insolvent implies that ResCap’s equity had little to no value as of the specific

   measurement date. Equity for insolvent companies transacts at positive values for numerous reasons, including
   the option value inherent in the security, speculation, and/or lack of market transparency.

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      Further, despite the condition of the mortgage markets, ResCap’s book value of equity
 remained positive throughout the credit crisis. This was largely because of ongoing capital
 support from AFI. The Examiner’s Financial Advisors found that ResCap’s book value of
 equity was not necessarily reflective of either the Fair Market Value of ResCap’s equity or its
 solvency over the relevant time period.

                   (2) Valuation Of The Interest-Bearing Debt Of ResCap

      The Examiner’s Financial Advisors used the Observable Market Value Method to value
 ResCap’s interest-bearing debt. This method is applicable when the securities of a company
 are actively traded in an efficient market and relies on the premise that the market prices of the
 subject securities incorporate the future expectations of market participants with regard to the
 underlying value of the subject company.129

     The Examiner’s Financial Advisors analyzed and priced ResCap’s interest-bearing debt
 based on the following five categories:130

                   (1) Parent/Affiliate Borrowings: Priced at estimated fair value per ResCap’s
                       annual Statement of Financial Accounting Standards (“SFAS”) 107
                       disclosure. In each of ResCap’s disclosures from 2005 through 2011,
                       ResCap estimated that the fair value of this debt was equal to its face value.

                   (2) Senior and Junior Secured Notes: Priced using observable market data from
                       financial data providers.131

                   (3) Other Secured Borrowings: ResCap completed an exchange of certain
                       unsecured notes for senior and junior secured notes in June 2008. Other
                       secured borrowings were assumed to be priced at par prior to June 2008.
                       Other secured borrowings were valued using the same pricing as ResCap’s
                       senior secured notes after June 2008.

                   (4) Unsecured Notes and Term Loan: Priced using observable market data
                       from financial data providers.132

 129 SHANNON P. PRATT WITH ALINA V. NICULITA, VALUING A BUSINESS: THE ANALYSIS AND APPRAISAL OF

    CLOSELY HELD COMPANIES 551 (5th ed. 2008).
 130 Beginning  in November 2007, AFI implemented a program of open market purchases which may have
    affected the pricing of ResCap’s debt securities. Such purchases would not necessarily indicate an increase in
    ResCap’s value based on its underlying fundamentals, but could cause an upward bias in the valuation of
    ResCap’s interest-bearing debt. No adjustment to the pricing of ResCap’s interest-bearing debt was applied to
    account for this potential bias.
 131 Market pricing on bonds was observed from Interactive Data Corporation and Advantage Data Inc., providers

    of securities pricing data.
 132 Market pricing on bonds and loans was observed from Interactive Data Corporation, Advantage Data Inc., and

    Thomson Reuters LPC’s Secondary Market Intelligence, providers of securities pricing data.

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                   (5) Other Unsecured Borrowings: Other unsecured borrowings were valued using
                       the weighted average of the unsecured notes’ pricing.

     ResCap’s collateralized borrowings in securitization trusts were excluded from the
insolvency analysis because they were secured by specific securitized mortgage assets not
controlled by ResCap. The FHLB advances on ResCap’s consolidated balance sheet were also
excluded from the insolvency analysis because the FHLB advances were obligations with
recourse to Ally Bank. The exclusion of these items did not have a material impact on the
assessment of ResCap’s insolvency because the market value of these liabilities approximated
par at all relevant measurement dates.133 The following table summarizes the analysis of the Fair
Market Value of ResCap’s interest-bearing debt.




133 Accordingly, the net impact of excluding these items on the assessment of insolvency would be negligible
   because both the Fair Market Value of the debt and the face value of the debt would decrease by approximately
   the same amount.

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                 (3) Impact Of TARP Funding

       ResCap’s distressed financial condition was well recognized by the market. This is
 evident in ResCap’s CDS spreads, which tracked the market’s perception of ResCap’s
 likelihood of default. During the second half of 2007, the market was pricing in a 72% chance
 that ResCap would default on its debt within one year.134 An analyst noted, “[w]hat has driven
 ResCap’s credit spreads to current levels has to do with something more practical and human.
 Simply put, there is little interest in taking the other side (i.e., going long risk) of the trade.”135
 ResCap’s CDS spreads fluctuated significantly in the first half of 2008 amid market concerns
 that ResCap would default on its debt without a capital infusion from AFI. According to a
 market analyst, “ResCap’s credit default swaps have been trading at levels that indicate
 investors have been expecting bankruptcy since the fall of 2007.”136




 134 KarenBrettell, US CREDIT–ResCap Swaps Imply 72 Percent Default Risk, REUTERS, Nov. 20, 2007,
    www.reuters.com/assets/print?aid=UKN2053644620071120.
 135 VAN HESSER & DAPHNE FENG, HSBC, RESIDENTIAL CAPITAL, LLC LOOKING FOR SOMEONE TO TAKE THE

    OTHER SIDE OF THE TRADE 3 (Nov. 20, 2007).
 136 Cynthia   Koons, ResCap Bonds Command Pricey Insurance,          WALL    ST.   J.,   Aug. 2,   2008,
    http://online.wsj.com/article/SB121759683223604485.html.

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     A financial reporter noted in August 2008 that ResCap’s “value in the credit markets is like that
of a company on the verge of taking its last breath.”137 ResCap’s CDS spreads spiked in November
2008, mirroring the decline in ResCap’s bond prices and signaling the market’s expectation of an
imminent bankruptcy.138 Moody’s downgraded ResCap from Ca to C on November 20, 2008, and
made the following comments with regard to ResCap’s financial condition:

                  ResCap cannot produce the required cash flow to service and
                  ultimately repay its obligations . . . ResCap requires significant
                  external support to continue as a going concern . . . [i]t is our
                  opinion that ResCap would not be a going concern without support
                  from [AFI] . . . each month requires additional support from [AFI]
                  to prevent ResCap from violating its debt covenants and defaulting
                  on its debt service.139

    AFI received approval for $5 billion in TARP funds on December 24, 2008.140 ResCap
engaged in contingency planning for a bankruptcy filing in the weeks leading up to AFI’s
approval for TARP funding. Absent AFI receiving TARP funds, a ResCap bankruptcy filing in
December 2008 appeared imminent.141

    AFI received another $7.5 billion of TARP funding on May 21, 2009, and a third and final
round of TARP funding of $3.8 billion on December 30, 2009.142 After receipt of the third round
of TARP funding, the Congressional Oversight Panel noted that ResCap’s “ongoing existence
and viability have remained highly doubtful without continued contributions from its parent.
[AFI’s] contributions to ResCap would not have been possible; however, had [AFI] not received
TARP assistance. . . .”143 Further, Carpenter testified before the Congressional Oversight Panel
137 Id.

138 A Fitch Financial Institutions “Special Report” noted:


   An important caveat in using annualized spreads to imply annual probabilities of default is that if the market
   considers an entity’s default to be imminent, the resulting implied probability of default could exceed 100%. For
   example, a protection buyer might be willing to pay 1,000 bps (or 10% of the notional CDS amount) for effectively
   a month’s horizon of protection, which if annualized would translate to a spread of 12,000 bps and imply an annual
   probability of default of 200% (assuming a 60% loss severity).
   ROBERT J. GROSSMAN & MARTIN HANSEN, FITCH, FINANCIAL INSTITUTIONS: CDS SPREADS AND DEFAULT
   RISK INTERPRETING THE SIGNALS 2 (Oct. 12, 2010).
139 ROBERT YOUNG & CRAIG A. EMRICK, MOODY’S, RATING ACTION: MOODY’S DOWNGRADES RESCAP TO C

   (Nov. 20, 2008), http://www.moodys.com/research/Moodys-downgrades-ResCap-to-C--PR_167799.
140 Cong. Oversight Panel, March Oversight Report: The Unique Treatment of GMAC Under the Tarp (Mar. 10,

   2010), at 20, http://cybercemetery.unt.edu/archive/cop/20110402042135/http://cop.senate.gov/documents/cop-
   031110-report.pdf.
141 Int. of T. Pohl, Feb. 26, 2013, at 41:10–44:16, 66:6–69:19.

142 CONG. OVERSIGHT PANEL, MARCH OVERSIGHT REPORT: THE UNIQUE TREATMENT OF GMAC UNDER THE

   TARP (Mar. 10, 2010), at 3, http://cybercemetery.unt.edu/archive/cop/20110402042135/http://cop.senate.gov/
   documents/cop-031110-report.pdf.
143 Id. at 41.



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 on February 25, 2010, that “[f]or [AFI], over the last several years, [ResCap] has been what I
 have described publicly as a millstone around the company’s neck. It has been the single-
 greatest barrier to the company’s access to capital markets, it has been the greatest barrier on
 our profitability as an enterprise.”144

      As shown on the following chart, the receipt of TARP funds by AFI corresponded with
 significant increases in the pricing of ResCap’s debt145 following each of the three TARP
 funding dates.




     As indicated above, AFI’s receipt of TARP funds had a significant upward impact on the
 market prices of ResCap’s publicly traded securities.
 144 GMAC Financial   Services and the Troubled Asset Relief Program: Hearing Before the Cong. Oversight
    Panel, 111th Cong. 54 (2010), http://cybercemetery.unt.edu/archive/cop/20110402012152/http://
    cop.senate.gov/documents/transcript-022510-gmac.pdf.
 145 An analysis was performed of the historical pricing trends of ResCap’s 6.5% bond maturing on April 17,

    2013. This bond was selected because of the trading frequency and availability of data from 2006–2012. This
    bond is senior unsecured and is identified by CUSIP 76113BAR0.

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               (4) Market Approach Conclusion Of Value

     The Examiner’s Financial Advisors estimated ResCap’s Fair Market Value of invested
capital by adding the Fair Market Value of ResCap’s equity to the Fair Market Value of
ResCap’s interest-bearing debt. The face value of ResCap’s interest-bearing debt was then
subtracted from the Fair Market Value of invested capital to determine the Fair Market Value
surplus or deficit. The following table summarizes the results of the Balance Sheet Test using the
Market Approach.




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              b. Asset-Based Approach

     The Examiner’s Financial Advisors also applied the Asset-Based Approach using the
Adjusted Book Value Method to estimate the Fair Market Value of ResCap’s total assets.
Application of the Adjusted Book Value Method involved adjusting the book value of ResCap’s
assets to estimated market values. The Asset-Based Approach can be applied using either a going
concern premise of value or a liquidation premise of value.146 The Examiner’s Financial
Advisors concluded that the valuation for purposes of assessing ResCap’s insolvency should be
performed under a going concern premise of value.147

     The Adjusted Book Value Method was deemed appropriate for valuing ResCap as this
method “is useful for valuing a business that has had very erratic earnings, or has had successive
years of losses, [because] both situations could render the income approach inapplicable. It is
also used when market comparables are unavailable.”148 This method is particularly appropriate
for companies such as ResCap where operating earnings are insignificant relative to the value of
the underlying assets. Valuation literature indicates that “asset-intensive businesses with low
profitability relative to their invested capital may be more appropriately valued using the asset
approach under a going concern assumption.”149

     The Examiner’s Financial Advisors applied the Adjusted Book Value Method considering
contemporaneous asset-based valuation analyses prepared by various advisors and other third-
party analysts from 2007 through 2009. Information considered by the Examiner’s Financial




146 SHANNON P. PRATT WITH ALINA V. NICULITA, VALUING A BUSINESS: THE ANALYSIS AND APPRAISAL OF
   CLOSELY HELD COMPANIES 64 (5th ed. 2008).
147 Collier on Bankruptcy explains:


   One of the most vexing problems in the valuation of the assets of a business enterprise as of a specified date is
   the question whether, and under what conditions, it should be treated as a going concern requiring appraisal of its
   property as an active unit rather than on an item-by-item basis. Fair value, in the case of a going concern, is
   determined by “the fair market price of the debtor’s assets that could be obtained if sold in a prudent manner
   within a reasonable period of time.” There is overwhelming authority to the effect that normally such valuation
   must be made from the vantage of a going concern and that subsequent dismemberment or impossibility to
   dispose of plant, equipment, inventory, etc., as an entirety should not enter into the picture. Indeed, it has been
   held that the court should use fair market going concern price “unless a business is on its deathbed,” in which
   case a liquidating value should be used . . . . Where the going concern value is the appropriate standard, the
   appraisal must take into account the additional value element which flows from the combination of the various
   assets to an economic unit.
   COLLIER ON BANKRUPTCY ¶ 101.32 (Alan N. Resnick & Henry J. Sommer eds., 16th ed. 2011) (citations
   omitted).
148 ZABIHOLLAH REZAEE, FINANCIAL INSTITUTIONS, VALUATIONS, MERGERS, & ACQUISITIONS: THE FAIR VALUE

   APPROACH 206 (2d ed. 2001).
149 IAN RATNER ET AL., BUSINESS VALUATION AND BANKRUPTCY 25 (2009).



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 Advisors included asset recovery assumptions reported by credit analysts from JPMorgan150
 and Citibank151 during the second half of 2007, and also by Lazard during the fourth quarter of
 2008152 and second quarter of 2009.153 These analyses each contained high, medium, and low
 asset recovery scenarios. The Examiner’s Financial Advisors noted that these asset recovery
 rates were used to estimate the value of ResCap’s assets in the event of liquidation. Therefore,
 the Examiner’s Financial Advisors adjusted the recovery rates upward, as deemed appropriate,
 to reflect the going concern value of the business.154 The Examiner’s Financial Advisors
 assumed that ResCap’s assets would be sold in a prudent manner within a reasonable period of
 time in order to achieve a going concern value, recognizing associated execution risk because
 of deteriorating market conditions.

      The Examiner’s Financial Advisors also considered the ABX index to be an indicator of
 the state of mortgage industry. The ABX index, created by the Markit Group, Ltd. (“Markit”),
 is a synthetic tradable index that allows investors to take positions on subprime mortgage-
 backed securities via CDS contracts.155 The ABX index became a benchmark for the
 performance of subprime RMBS and served as a widely followed barometer of the United
 States subprime mortgage market.156 During 2007 and 2008, the ABX BBB and A indices
 suffered declines of approximately 90% in value, while the AAA index suffered a decline of
 approximately 40%. The condition of the mortgage industry, as reflected by the ABX index,
 supports the trend in the asset value adjustments applied by the Examiner’s Financial Advisors
 in the Adjusted Book Value Method for ResCap. The following graph demonstrates the
 precipitous decline across various credit-rated ABX sub-indices.




 150 KABIR CAPRIHAN & CHLOE THOMPSON, JPMORGAN, RESIDENTIAL CAPITAL CORP RECOVERY, LIQUIDITY,

    CASH FLOW BURN (Nov. 26, 2007); KABIR CAPRIHAN & MONICA PAREKH, JPMORGAN, COUNTRYWIDE AND
    RESIDENTIAL CAPITAL CORP RECOVERY, LIQUIDITY, BALANCE SHEET BURN, ETC. (Aug. 21, 2007).
 151 RYAN O’CONNELL & JERRY DOROST, CITIBANK, RESIDENTIAL CAPITAL LLC LOWERING THE ESTIMATED

    RECOVERY VALUES (Mar. 3, 2008) [CCM00049053].
 152 See Skadden & Lazard Project Scout Presentation, dated Oct. 8, 2008 [RC40008678].

 153 See Skadden & Lazard Project Scout II Presentation, dated Jun. 2009 [UBS-RESCAP-0015151]; Skadden &

    Lazard Project Scout II Presentation, dated Jul. 2009 [RC40010890].
 154 The Adjusted Book Value Method also requires the inclusion of the Fair Market Value of any off-balance

    sheet assets including intangible assets. The Examiner’s Financial Advisors assumed the value of ResCap’s
    off-balance sheet intangible assets to be negligible after June 2007 given ResCap’s negative earnings,
    distressed financial condition, and unsustainable business model. Furthermore, ResCap wrote off all of its
    acquired intangible assets (including goodwill) in the third quarter of 2007.
 155 See generally Products and Services: Markit ABX.HE, MARKIT GROUP LTD., http://www.markit.com/en/
    products/data/indices/structured-finance-indices/abx/abx.page.
 156 Ingo Fender & Martin Scheicher, The ABX: How Do the Markets Price Subprime Mortgage Risk?, BANK FOR

    INT’L SETTLEMENTS Q. REV., (Sept. 2008), at 67.

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     The Examiner’s Financial Advisors considered contemporaneous third-party asset recovery
assumptions, the state of the mortgage industry, and the financial condition of ResCap157 in
estimating the asset value adjustments for ResCap’s assets as of each quarterly measurement
date.158 The following chart summarizes the resulting overall value adjustment percentages for
ResCap’s assets across the quarterly measurement dates for each scenario.




157 The Examiner’s Financial Advisors reviewed the annual fair value estimates provided in ResCap’s SEC
   Form 10-K disclosures, but did not rely heavily on these estimates because of the volatility in the mortgage
   industry and ResCap’s acknowledgement of its inability to price certain assets accurately. See E-mails between
   D. Applegate, E. Feldstein, and S. Khattri (Jan. 27–28, 2007) [EXAM10163216].
158 The application of the Adjusted Book Value Method considered appropriate market adjustments for the assets of

   Ally Bank, which included both the mortgage and automotive divisions. The Examiner’s Financial Advisors
   noted that Ally Bank’s assets were generally of higher quality than ResCap’s (the delinquency rates of ResCap’s
   mortgage loans were much higher than the delinquency rates of Ally Bank’s mortgage loans). Total liabilities for
   Ally Bank and minority interests were then subtracted from the resulting value to derive an estimated value of
   ResCap’s equity interest in the mortgage division of Ally Bank. The application of the Adjusted Book Value
   Method for ResCap on a consolidated basis is consistent with the analyses performed by JPMorgan. See KABIR
   CAPRIHAN & CHLOE THOMPSON, JPMORGAN, RESIDENTIAL CAPITAL CORP RECOVERY, LIQUIDITY, CASH FLOW
   BURN (NOV. 26, 2007); KABIR CAPRIHAN & MONICA PAREKH, JPMORGAN, COUNTRYWIDE AND RESIDENTIAL
   CAPITAL CORP RECOVERY, LIQUIDITY, BALANCE SHEET BURN, ETC. (Aug. 21, 2007).

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     The Examiner’s Financial Advisors estimated the Fair Market Value of ResCap’s total
assets by applying the asset value adjustments to the book value of ResCap’s assets at each
quarterly measurement date. The face value of ResCap’s total liabilities159 was then subtracted
from the Fair Market Value of ResCap’s total assets to determine ResCap’s Fair Market Value
surplus or deficit. The following table summarizes the results of the Balance Sheet Test using the
Asset-Based Approach.




159 Totalliabilities include interest-bearing liabilities, non-interest bearing liabilities (i.e., payables, accrued
   expenses, and other current and non-current liabilities, etc.), and contingent and/or unliquidated liabilities.

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    5. Contingent / Unliquidated Liabilities

             a. Legal Analysis

      An assessment of ResCap’s insolvency requires consideration of certain contingent and/or
unliquidated liabilities (or unliquidated damages) that might not have been contemporaneously or
adequately recorded when it issued its financial statements. The most prominent of these
liabilities included potential representation and warranty-related claims. ResCap sold loans
through whole-loan sales and securitizations, and was required to make customary
representations and warranties regarding those loans. ResCap bore the risk of loss associated
with those loans if they were intentionally or negligently misrepresented.160

    In evaluating a debtor’s insolvency, both present and contingent assets and liabilities are to
be considered, so long as the contingency is capable of reasonable estimation and provided




160 Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2008), at 34–36.



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 that such contingent assets or liabilities are properly discounted.161 “It makes no difference
 whether the firm has a contingent asset or a contingent liability; the asset or liability must be
 reduced to its present, or expected, value before a determination can be made whether the
 firm’s assets exceed its liabilities.”162 If contingencies are not properly discounted, the
 “absurd” result would be “that every individual firm that had contingent liabilities greater than
 his or its net assets” would be insolvent.163
      Furthermore, when examining a debtor’s insolvency as of the date of an allegedly
 fraudulent transfer, courts should not engage in an improper hindsight analysis.164 As noted by
 the Third Circuit:
                   Far from “hindsight” or “post-hoc” analysis, a court looks at the
                   circumstances as they appeared to the debtor and determines
                   whether the debtor’s belief that a future event would occur was
                   reasonable. The less reasonable a debtor’s belief, the more a
                   court is justified in reducing the assets (or raising the liabilities)
                   to reflect the debtor’s true financial condition at the time of the
                   alleged transfers.165
      The Lippe v. Bairnco Corp.166 case provides an example of courts’ valuation of a debtor’s
 assets and liabilities as of the date of an allegedly fraudulent transfer. In Lippe, creditors of
 Keene Corporation (“Keene”) sought to avoid a series of transfers made by the company as
 actually fraudulent under NY DCL section 276 and/or constructively fraudulent under NY DCL
 section 273. Keene filed for bankruptcy in 1993 after being overwhelmed by asbestos personal
 injury liabilities. The transfers challenged by the creditors were executed in 1983 through 1989.
 161 Mellon Bank, N.A. v. Official Comm. of Unsecured Creditors of R.M.L., Inc. (In re R.M.L., Inc.), 92 F.3d 139,

    156 (3d Cir. 1996) (“If a debtor’s treatment of an item as an ‘asset’ depends for its propriety on the
    occurrence of a contingent event, a court must take into consideration the likelihood of that event occurring
    from an objective standpoint.”) (citations omitted); In re Xonics Photochemical, Inc., 841 F.2d 198, 200 (7th
    Cir. 1988) (“By definition, a contingent liability is not certain—and often is highly unlikely—ever to become
    an actual liability. To value the contingent liability it is necessary to discount it by the probability that the
    contingency will occur and the liability will become real.”).
 162 In re Xonics Photochemical, Inc., 841 F.2d at 200.

 163 Id. at 199.

 164 Lippe v. Bairnco Corp., 249 F. Supp. 2d 357, 380 (S.D.N.Y. 2003) (explaining that in consideration of a claim

    pursuant to the UFCA, “solvency must be gauged at the time of the transfer and not with the benefit of
    hindsight”) (citations omitted), aff’d, 99 F. App’x 274 (2d Cir. 2004); see also Paloian v. LaSalle Bank, N.A.,
    619 F.3d 688, 693 (7th Cir. 2010) (noting that “[h]indsight bias is to be fought rather than embraced” when
    determining whether debtor was insolvent under Illinois UFTA) (citing Boyer v. Crown Stock Distrib., Inc.,
    587 F.3d 787, 794-95 (7th Cir. 2009); In re R.M.L., Inc., 92 F.3d at 155 (“The use of hindsight to evaluate a
    debtor’s financial condition for purposes of the [Bankruptcy] Code’s ‘insolvency’ element has been criticized
    by courts and commentators alike.”) (citation omitted); Wolkowitz v. Am. Research Corp. (In re DAK Indus.,
    Inc.), 195 B.R. 117, 125 (Bankr. C.D. Cal. 1996) (cautioning against using hindsight to determine if business
    was on its “deathbed”), aff’d, 170 F.3d 1197 (9th Cir. 1999).
 165 In re R.M.L., Inc., 92 F.3d at 156 (emphasis in original).

 166 Lippe, 249 F. Supp. 2d 357.



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       The defendants filed motions for summary judgment, seeking to dismiss, among other
 claims, the creditors’ constructive fraudulent transfer claims. The district court’s summary
 judgment decision turned, in part, on whether Keene was solvent at the time of the transfers
 under NY DCL section 271. That section provides that a person is insolvent if “the present fair
 salable value of his assets is less than the amount that will be required to pay his probable
 liability on his existing debts as they become absolute and matured.”167 Focusing on the phrase
 “probable,” the district court calculated the debtor’s liabilities as of the relevant transfer dates,
 considering only that information known to the company at the time of the transfers, and not
 including the company’s ultimate asbestos liability.168

       Emphasizing that “solvency must be gauged at the time of the transfer and not with the
 benefit of hindsight,”169 the district court determined that the company “had, or believed it had,
 more than sufficient assets to cover its probable liabilities at the time of the transactions . . . and
 during the years it paid dividends.”170 Evidence gathered during discovery revealed that
 “Keene’s managers and lawyers . . . never believed that Keene was insolvent or would be
 rendered insolvent by virtue of the asbestos cases”171 based on the company’s monitoring and
 calculations of its asbestos liability. Ultimately, the district court determined that “no reasonable
 jury could find that Keene actually believed its probable liabilities would exceed the amount of
 [its assets]” but that “of course, no one could predict the future”172 when this remote likelihood
 ultimately occurred. With this finding, the district court refused to use hindsight to add
 retroactively Keene’s ultimate asbestos liability to its balance sheet at the time of the transfers,
 and granted the summary judgment motion on the basis that the plaintiffs could not demonstrate
 that the debtor was insolvent at the time of the allegedly constructive fraudulent transfer claims.

      In contrast, in a decision in the In re W.R. Grace & Co. bankruptcy cases, the Bankruptcy
 Court for the District of Delaware held that, in assessing whether W.R. Grace & Co. was
 insolvent at the time of an allegedly fraudulent transfer, it was appropriate for the court to
 consider future asbestos claims that had not yet been asserted against Grace, but were
 otherwise fully established.173
 167 N.Y. DEB. & CRED. LAW § 271.

 168 The District Court noted that “Keene could not predict the future, and it had no reason to know, at the time of

    the transfers, that years later it would be rendered insolvent by a flood of asbestos filings.” Lippe,
    249 F. Supp. 2d at 360.
 169 Id. at 380 (citations omitted).

 170 Id. at 378. The court noted that at the time of the transfers, Keene was contesting many of the asbestos claims

    and believed that many had no merit and that the amounts sought were exaggerated, and that “from 1984
    through 1990, [Keene] won 97% of the cases that went to verdict, and lost only a total of $192,143 in the
    cases in which there were adverse verdicts.” Id. at 380.
 171 Id. at 366.

 172 Id. at 379.

 173 Official Comm. of Asbestos Pers. Injury Claimants of W.R. Grace & Co. v. Sealed Air Corp. (In re W.R.

    Grace & Co.), 281 B.R. 852, 865 (Bankr. D. Del. 2002). The Grace decision was issued by the Honorable
    Alfred M. Wolin, United States District Judge for the District of New Jersey (sitting by designation in the
    Bankruptcy Court for the District of Delaware).

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       In that case, the creditors’ committee sought to avoid Grace’s prepetition transfer of one
 of its divisions as constructively fraudulent under the UFTA. The issue for the court was
 whether the liabilities the court should consider in determining Grace’s insolvency as of the
 date of the allegedly fraudulent transfer were: (1) “those that were known on that date or those
 that the debtor reasonably should have known about at that time”; or (2) “the actual liabilities
 of the debtor” on that date, irrespective of “what the debtor may have known about those
 liabilities on the transfer date, reasonably or otherwise.”174 This issue was critical because
 Grace knew at the time of the transfer that it had asbestos liabilities, but it did not anticipate at
 that time that the liabilities would be as large as they ultimately were. If the entirety of the
 claims ultimately asserted against Grace could be retroactively considered in the analysis of
 Grace’s insolvency, then Grace would be considered insolvent for purposes of fraudulent
 transfer law.

        Turning to the UFTA, the court noted that two sections could be considered “constructive
 fraudulent transfer” provisions: (1) section 4(a)(2), which focused on what the debtor
 “reasonably should have believed” with respect to incurring debts beyond its ability to pay;
 and (2) section 5(a), which focused on the objective reality of whether “the debtor was
 insolvent at that time” and not by reference to what the debtor may have reasonably estimated
 its liabilities to be.175 The Grace court described the insolvency test under section 5 as a “strict
 balance sheet test,” with the debtor insolvent if its debts exceeded its assets.176 Notably, the
 court did not discuss the actual statutory language of section 5, which provides that a debtor is
 insolvent “if the sum of the debtor’s debts is greater than all of the debtor’s assets, at a fair
 valuation.”177

       Because the parties had focused on the section 5 definition of insolvency, the court
 limited its analysis to this “strict balance sheet test.”178 In calculating assets and debts pursuant
 to section 5, the defendants asserted that the value of the asbestos injury claims against Grace
 should be subject to the “probability discount rule” because those claims were contingent
 liabilities on the date of the allegedly fraudulent transfer and should be valued accordingly.179

      The court disagreed, finding that the post-transfer date asbestos claims were not
 contingent at the time of the transfer, but simply “unknown” in amount. The court noted that
 174 Id. at 856.

 175 Id. at 855–856.

 176 Id. at 856.

 177 UFTA § 2(a) (emphasis added). The New Jersey UFTA, which was applicable in Grace, is identical to section

    2(a) of the model UFTA: “A debtor is insolvent if the sum of the debtor’s debts is greater than all of the
    debtor’s assets, at a fair valuation.” Compare N.J. STAT. ANN. § 25:2-23(a), with UFTA § 2(a). The
    legislative history of the model UFTA states that this definition contemplates “a fair valuation of the debts as
    well as the assets of the debtor.” UFTA § 2(a) cmt. 1. It is notable that the bankruptcy court did include the
    relevant statutory language of UFTA section 4(a)(2) when describing that provision. In re W.R. Grace & Co.,
    281 B.R. at 856.
 178 In re W.R. Grace & Co., 281 B.R. at 856.

 179 Id. at 857–58.



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 the UFTA defined a debt as a “liability on a claim” and, applying the then-controlling Third
 Circuit case for what may be considered a claim,180 the court determined that the asbestos
 claimants who had been exposed to asbestos and had physical manifestations of their
 exposure, even if the claimants did not know it at the time, had “a right to payment and thus a
 claim for purposes of the solvency analysis of the UFTA on the transfer date”181 because
 “every element of liability was already present.”182

      The court emphasized that at the time of the challenged transfer, the debtors were well
 aware that they had liabilities relating to asbestos claims. In the three years leading up to the
 transfer date, the debtors averaged about 31,500 asbestos claims per year.183 In distinguishing
 these asbestos claims from “contingent liabilities” that may be subject to the probability
 discount rule, the court noted that as of the transfer date, the debtor’s asbestos products:

                   [H]ad already proven dangerous on the transfer date affecting
                   tens of thousands, not hundreds. The post-1998 increase in the
                   claiming rate was not an airplane falling out of the sky nor a
                   melt down in a reactor. Every element of liability was already
                   present and had been for many years.184

      In other words, at the time of the transfer, the debtor “knew it had an existing liability, it
 just did not know how big that liability was.”185 This unknown amount of liability did not
 make the claims contingent and therefore subject to reduced valuation.186 “The law is the
 same–contingent liabilities are to be reduced by the reasonably probability of the contingency,
 but mere errors in the debtor’s calculation of its solvency are to be corrected to reflect the



 180 Avellino & Bienes v. M. Frenville Co. (In re M. Frenville Co.), 744 F.2d 332 (3d Cir. 1984) (interpreting the

    meaning of the term “claim” under the Bankruptcy Code and holding that a “claim” does not “arise” until a
    cause of action has accrued under applicable nonbankruptcy, or state, law). The Third Circuit revisited its
    “accrual test” in 2010 and overturned the Frenville decision, holding instead that “a ‘claim’ arises when an
    individual is exposed prepetition to a product or other conduct giving rise to an injury, which underlies a
    ‘right to payment’ under the Bankruptcy Code.” JELD-WEN, Inc. v. Van Brunt (In re Grossman’s Inc.),
    607 F.3d 114, 125 (3d Cir. 2010) (citation omitted).
 181 In re W.R. Grace & Co., 281 B.R. at 862. But see Sharp v. Chase Manhattan Bank USA, N.A. (In re
    Commercial Fin. Servs., Inc.), 350 B.R. 520, 536 n.13 (Bankr. N.D. Okla. 2005) (noting that there is a
    difference “between claims allowable against the bankruptcy estate and liabilities recognizable on a solvency
    balance sheet”).
 182 In re W.R. Grace & Co., 281 B.R. at 865.

 183 Id. at 857.

 184 Id. at 865.

 185 Id. at 863.

 186 Id. at 865 (“The liability may have been unknown and the best estimates may have erred in protecting who

    could come forward with a claim of asbestos injury. This does not mean that liability for such claims was
    contingent.”).

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 evidence.”187 As such, “courts may consider information originating subsequent to the transfer
 date if it tends to shed light on a fair and accurate assessment of the asset or liability as of the
 pertinent date.”188

       While this divergent case law arguably results in some confusion regarding when
 hindsight is appropriate in an insolvency analysis, the Examiner believes that the cases could
 be synthesized by focusing on what the debtors in the Grace and Lippe cases knew about their
 respective asbestos liabilities at the time of the challenged transfers. In Lippe, Keene
 reasonably thought the worst of the asbestos litigation was over at the times of the challenged
 transfers and, therefore, the court did not find it necessary to revise Keene’s low calculations
 of its probable liabilities at those times.189 But, in Grace, the allegedly fraudulent transfer took
 place ten years after the transfers reviewed in the Lippe case, by which time the dangers of
 asbestos and “W.R. Grace’s asbestos liability in particular were nationally known and had
 been so for decades.”190 Grace’s estimate of its asbestos liabilities, as required by the UFTA,
 arguably needed to reflect better the liabilities ultimately faced by Grace, because its lower
 estimates of such liabilities were arguably not reasonable at the time of the allegedly
 fraudulent transfer.191

      Based on the foregoing, the Examiner concludes that the Grace decision has not changed
 the traditional “known or knowable” standard (as developed in the case law and relevant
 valuation literature) for valuing contingent and unliquidated liabilities in this case.

                   b. Financial Analysis

      The Examiner’s Financial Advisors considered the implications of contingent and/or
 unliquidated liabilities in evaluating ResCap’s insolvency. For purposes of assessing
 insolvency under the Market Approach, the Examiner’s Financial Advisors relied upon the
 market’s contemporaneous evaluation of such contingent and/or unliquidated liabilities as
 manifested in the market pricing of ResCap’s debt securities. Debt pricing used in the
 Observable Market Value Method should reflect the market’s expectation of ResCap’s
 contingent and/or unliquidated liabilities based on information that was known or knowable
 by the market as of each quarterly measurement date. To the extent the market was not
 sufficiently incorporating such contingent and/or unliquidated liabilities, ResCap’s liabilities
 and any associated condition of insolvency would increase by those unknown amounts,
 pursuant to the legal principles discussed in Section VI.B.5.a.
 187 Id. at 868.

 188 Id. at 869.

 189 Lippe v. Bairnco Corp., 249 F. Supp. 2d 357, 366 (S.D.N.Y. 2003).

 190 In re W.R. Grace & Co., 281 B.R. at 856.

 191 See Wright v. Boston Scientific (In re Guidant Corp. Implantable Defibrillators Prods. Liability Litig.), No.

    MDL 05–1708DWFAJB, 2006 WL 763212, at *4 (D. Minn. Mar. 24, 2006) (determining whether debtor was
    insolvent under Minnesota’s UFTA, and refusing to add “unadjudicated, speculative damages” to balance
    sheet at time of transfer when lawsuit that would give rise to such damages was still pending).

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      With respect to the Examiner’s Financial Advisors’ application of the Asset-Based
 Approach, it was necessary to estimate the value of any contingent and/or unliquidated off-
 balance sheet liabilities and include the estimated amount for purposes of determining whether
 ResCap was insolvent.

      ResCap, through its operating entities, RFC and GMAC Mortgage, sold loans that took
 the form of PLS, securitizations guaranteed by GSEs, and whole-loan sales.192 In connection
 with these activities, ResCap “provide[d] to the GSEs, investors, and financial guarantors
 (monolines), and whole-loan purchasers various representations and warranties related to the
 loans sold.”193

       ResCap’s methodology of reserving for liabilities associated with these representations and
 warranties was based on its history with individual purchasers (or investors). As disclosed in
 ResCap’s financial statements for the years ended December 31, 2009 and 2010, ResCap
 considered “historical and recent demand trends in establishing the reserve” for representation
 and warranty-related liabilities.194 In cases where ResCap did not have historical demand
 experience with an investor, ResCap acknowledged that it was “difficult to predict and estimate
 the level and timing of any potential future demands . . . and a liability [wa]s not recognized.”195

      With respect to non-Agency securitizations, ResCap’s December 31, 2009 and 2010
 financial statements noted that ResCap’s “exposure to representation and warranty claims is most
 significant for loans sold between 2004 through 2008, specifically the 2006 and 2007 vintages
 which were originated and sold prior to enhanced underwriting standards and risk-mitigation
 actions implemented in 2008 . . . .” The financial statements, however, also noted the hurdles
 imposed on PLS investors seeking to make contractual claims for representations and warranties:

                     In order to successfully assert a claim, an investor must prove
                     breach of the representations and warranties that materially and
                     adversely affects the interest of all investors. Securitization
                     documents typically provide the investors with a right to request
                     that the trustee investigate and initiate a repurchase claim.
                     However, a class of investors generally are required to coordinate
                     with other investors in that class comprising no less than 25% of
                     the voting rights in securities for that class issued by the trust to
                     pursue claims for breach of representation and warranties.196

       These hurdles made it difficult for PLS investors to pursue representation and warranty-
 related claims against mortgage originators like ResCap. Beginning in early 2010, however,
 192 See Residential Capital, LLC Consolidated Financial Statements for the Years Ended December 31, 2010 and

    2009, dated Feb. 28, 2011, at 18 [EXAM00123128].
 193 Id.

 194 Id. at 68.

 195 Id.

 196 Id. at 69–70.



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 investors banded together to obtain the 25% of voting rights in securitizations necessary to
 pursue claims for breach of representations and warranties.197 In February 2010, PIMCO
 organized a conference and pitched MBS investors on a clearinghouse model to pursue
 potential MBS claims.198 A July 2010 Reuters article stated that “using a clearinghouse model
 to aggregate positions is a milestone for investors who have been unable to organize . . .
 investors have finally reached a mechanism whereby they can act collectively to enforce their
 contractual rights,” and “investors are eager to scrutinize loans against reps and warranties in
 ways [they] haven’t been able to before.”199

      In July 2010, an investor group purportedly representing $500 billion in MBS sent letters
 to numerous trustees of mortgage-backed securitizations requesting that they enforce alleged
 servicing breaches related to allegedly improperly originated loans.200

      An August 2010 presentation prepared by Elliott Associates and received by ResCap
 management,201 noted that the dollar amount of non-Agency repurchase requests was only
 13% of the Agencies’ repurchase requests in 2006 and 2007, and that “one of the key reasons
 behind this phenomenon is the practical hurdles imposed by the 25% required vote on
 directing Trustees to take collective action.”202 The presentation went on to state that “the
 creation of an RMBS Investor Clearing House dramatically increases the likelihood that
 holders would meet the required 25% voting threshold,” and that “as a result, the assumption
 that non-Agency repo request rates will remain a tiny fraction of Agency request rates looks
 tenuous at best.”203 Elliott Associates noted that under certain scenarios, ResCap’s June 30,
 2010 reserve balance of $855 million “would prove inadequate to the tune of $6.5 billion.”204

      In November 2010, the Congressional Oversight Panel released its November Oversight
 Report, titled “Examining the Consequences of Mortgage Irregularities for Financial Stability
 and Foreclosure Mitigation.” The report stated that:

                     [I]nvestors are beginning to take collective action, suggesting
                     that the 25 percent threshold may not be an enormous burden for
                     organized investors. A registry created by RMBS Clearing
 197 Alison Frankel, Did Gibbs Pre-empt Rival Investor Group in BofA’s MBS Deal?, REUTERS, Oct. 3, 2011,

    http://blogs.reuters.com/alison-frankel/2011/10/03/did-gibbs-pre-empt-rival-investor-group-in-bofas-mbs-deal/.
 198 Id.

 199 Al  Yoon, Mortgage Bond Holders Get Legal Edge; Buybacks Seen, REUTERS, Jul. 21, 2010,
    http://www.reuters.com/article/2010/07/21/mortgages-investors-idUSN2115720720100721.
 200 CHRIS GAMAITONI ET AL., COMPASS POINT RESEARCH & TRADING, LLC, MORTGAGE REPURCHASES
    PART II: PRIVATE LABEL RMBS INVESTORS TAKE AIM—QUANTIFYING THE RISKS (Aug. 17, 2010).
 201 E-mail from D. Cederholm (Aug. 6, 2010) [EXAM11122998].

 202 Ally
        Financial (GMAC Inc.) Repurchase Liability Analysis Presentation, dated Aug. 2010, at 4
    [EXAM11123000].
 203 Id. at 7–8.

 204 Id. at 5, 11.



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                       House is providing a confidential data bank whose purpose is to
                       identify and organize certificate holders into groups that can
                       meet threshold requirements . . . .205

                       RMBS Clearing House claims to represent more than 72 percent
                       of the certificate holders of 2,300 mortgage-backed securities,
                       more than 50 percent of holders of 900 mortgage-backed
                       securities, and more than 66 percent of the holders of 450
                       mortgage-backed securities representing, in the aggregate, a face
                       amount of $500 billion, or approximately one-third of the
                       private label mortgage-backed securities market.206

      The Congressional Oversight Panel used assumptions from analyst reports to provide “a
 top-level illustration of the cost of mortgage put-backs [related to the $1.5 trillion of PLS sold
 to investors between 2005 and 2008] could inflict on bank balance sheets.”207 The
 Congressional Oversight Panel estimated representations and warranty put-backs for these
 securities could be $16 billion on total issuances of $1.358 trillion, or 1.18%.208

       The Examiner’s Financial Advisors also noted that Bank of America settled its loan
 repurchase liabilities for $8.5 billion in June 2011.209 Shortly after the announcement of that
 settlement, internal e-mail correspondence indicated that ResCap’s potential PLS repurchase
 exposure could be $4 billion based on the Bank of America settlement (which implied a put-
 back percentage of approximately 2.0% of the original principal balance of Bank of America’s
 securitizations).210

       On October 17, 2011, AFI received a letter from Gibbs & Bruns LLP informing AFI that
 the firm represented investment advisers and holders of RMBS “issued and/or underwritten by
 Ally Financial, Inc. and/or its affiliates.”211 The letter also stated: “[t]here is widespread,
 readily available evidence suggesting that large numbers of mortgages securing the certificates
 held by our clients were sold or deposited into the RMBS pools based on false and/or
 fraudulent representations and warranties. . . .”212
 205 CONG.   OVERSIGHT PANEL, NOVEMBER OVERSIGHT REPORT: EXAMINING THE CONSEQUENCES OF
    MORTGAGE IRREGULARITIES FOR FINANCIAL STABILITY AND FORECLOSURE MITIGATION (Nov. 16, 2010), at
    30, http://www.gpo.gov/fdsys/pkg/CPRT-111JPRT61835/pdf/CPRT-111JPRT61835.pdf.
 206 Id. at 30 n.91.

 207 Id. at 70.

 208 See Id. at 72.

 209 Hugh   Son, BofA Settles Soured Mortgages for $8.5 Billion, BLOOMBERG, Jun. 29, 2011,
    http://www.bloomberg.com/news/2011-06-29/bofa-reaches-8-5-billion-settlement-on-soured-mortgages-with-
    bondholders.html.
 210 E-mail from A. Norton (Jun. 29, 2011) [EXAM20206599].

 211 See Letter from K. Patrick to W. Solomon (Oct. 17, 2011) [ALLY_0212896]; see also Section III.J.4.c.

 212 See Letter from K. Patrick to W. Solomon (Oct. 17, 2011) [ALLY_0212896].



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